                                                                                                                           Case 14-28537                      Doc 1Filed 08/04/14 Entered 08/04/14 13:31:09 Desc Main
                                                                                                          B1 (Official Form 1) (04/13)                               Document       Page 1 of 58
                                                                                                                                                      United States Bankruptcy Court                       Voluntary Petition
                                                                                                                                                        Northern District of Illinois
                                                                                                           Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                            Voegtle, Laura C.
                                                                                                           All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
                                                                                                           (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
                                                                                                            fka Laura C. Voegtle
                                                                                                            fka Laura C. Musser
                                                                                                          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                                          (if more than one, state all): 2208                                               (if more than one, state all):

                                                                                                           Street Address of Debtor (No. and Street, City, and State)                                      Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                            2123 Ash Street
                                                                                                            Des Plaines, IL                                                     ZIPCODE                                                                                             ZIPCODE
                                                                                                                                                                                     60018
                                                                                                           County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:

                                                                                                            Cook
                                                                                                           Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                               ZIPCODE                                                                                              ZIPCODE

                                                                                                           Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                                    ZIPCODE

                                                                                                                         Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
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                                                                                                                     (Form of Organization)                                   (Check one box)                                                 the Petition is Filed (Check one box)
                                                                                                                         (Check one box)                                          Health Care Business                              Chapter 7
                                                                                                               Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in                                       Chapter 15 Petition for
                                                                                                               See Exhibit D on page 2 of this form.                              11 U.S.C. § 101 (51B)                             Chapter 9                  Recognition of a Foreign
                                                                                                               Corporation (includes LLC and LLP)                                 Railroad                                                                     Main Proceeding
                                                                                                               Partnership                                                        Stockbroker                                       Chapter 11
                                                                                                               Other (If debtor is not one of the above entities,                 Commodity Broker                                  Chapter 12                 Chapter 15 Petition for
                                                                                                               check this box and state type of entity below.)                    Clearing Bank                                                                Recognition of a Foreign
                                                                                                                                                                                                                                    Chapter 13
                                                                                                                                                                                  Other N.A.                                                                   Nonmain Proceeding
                                                                                                                             Chapter 15 Debtors                                           Tax-Exempt Entity                                           Nature of Debts
                                                                                                                                                                                        (Check box, if applicable)                                    (Check one box)
                                                                                                           Country of debtor’s center of main interests:                                                                            Debts are primarily consumer
                                                                                                                                                                                                                                                                            Debts are
                                                                                                                                                                                      Debtor is a tax-exempt organization           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                                                                            primarily
                                                                                                           Each country in which a foreign proceeding by,                             under Title 26 of the United States           §101(8) as "incurred by an
                                                                                                                                                                                                                                                                            business debts.
                                                                                                           regarding, or against debtor is pending:                                   Code (the Internal Revenue Code)              individual primarily for a
                                                                                                                                                                                                                                    personal, family, or
                                                                                                                                                                                                                                    household purpose."
                                                                                                                                       Filing Fee (Check one box)                                                                           Chapter 11 Debtors
                                                                                                                                                                                                                   Check one box:
                                                                                                                  Full Filing Fee attached                                                                                Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                                          Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                  Filing Fee to be paid in installments (applicable to individuals only) Must attach                 Check if:
                                                                                                                  signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                                  to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                 insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                                                                                                                                         on 4/01/16 and every three years thereafter).
                                                                                                                                                                                                                     Check all applicable boxes
                                                                                                                  Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                                         A plan is being filed with this petition.
                                                                                                                  attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                                         Acceptances of the plan were solicited prepetition from one or more
                                                                                                                                                                                                                         classes of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                                                            Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                                    COURT USE ONLY
                                                                                                              Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                              Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                              distribution to unsecured creditors.
                                                                                                          Estimated Number of Creditors

                                                                                                           1-49           50-99           100-199           200-999         1,000-           5,001-           10,001-            25,001-         50,001-          Over
                                                                                                                                                                            5,000            10,000           25,000             50,000          100,000          100,000
                                                                                                          Estimated Assets

                                                                                                          $0 to          $50,001 to      $100,001 to       $500,001      $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                          $50,000        $100,000        $500,000          to $1         to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                           million       million          million          million            million
                                                                                                          Estimated Liabilities

                                                                                                          $0 to          $50,001 to      $100,001 to        $500,001     $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                          $50,000        $100,000        $500,000           to $1        to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                            million      million          million          million            million
                                                                                                          B1 (OfficialCase 14-28537
                                                                                                                      Form 1) (04/13)                    Doc 1          Filed 08/04/14 Entered 08/04/14 13:31:09                                            Desc Main                Page 2
                                                                                                          Voluntary Petition                                              Document     Page
                                                                                                                                                                                        Name 2
                                                                                                                                                                                             of of 58
                                                                                                                                                                                                Debtor(s):
                                                                                                          (This page must be completed and filed in every case)                                        Laura C. Voegtle
                                                                                                                                   All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                                          Location                                                                              Case Number:                                       Date Filed:
                                                                                                          Where Filed:           NONE

                                                                                                           Location                                                                             Case Number:                                       Date Filed:
                                                                                                           Where Filed:
                                                                                                                                 N.A.
                                                                                                                     Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                           Name of Debtor: NONE                                                    Case Number:                                   Date Filed:


                                                                                                           District:                                                                             Relationship:                                     Judge:


                                                                                                                                          Exhibit A                                                                                      Exhibit B
                                                                                                                                                                                                                          (To be completed if debtor is an individual
                                                                                                          (To be completed if debtor is required to file periodic reports (e.g., forms                                    whose debts are primarily consumer debts)
                                                                                                          10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                                          Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting             I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                          relief under chapter 11)                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                                                                                                                   12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                                                                                                                   available under each such chapter. I further certify that I delivered to the
                                                                                                                                                                                                   debtor the notice required by 11 U.S.C. § 342(b).

                                                                                                                   Exhibit A is attached and made a part of this petition.                         X        /s/ James T Magee                                    August 4, 2014
                                                                                                                                                                                                        Signature of Attorney for Debtor(s)                         Date


                                                                                                                                                                                        Exhibit C
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                                                                                                          Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                                   Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                                   No.


                                                                                                                                                                                         Exhibit D
                                                                                                            (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                                       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                           If this is a joint petition:
                                                                                                                       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                                      Information Regarding the Debtor - Venue
                                                                                                                                                                                   (Check any applicable box)
                                                                                                                                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                                                                                   preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District, or
                                                                                                                                   has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state court] in
                                                                                                                                   this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                                    (Check all applicable boxes)
                                                                                                                                   Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                                   (Name of landlord that obtained judgment)


                                                                                                                                                                                    (Address of landlord)
                                                                                                                                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                                   entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                                                                                   filing of the petition.
                                                                                                                                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
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                                                                                                          Voluntary Petition                                                                     Name of Debtor(s):
                                                                                                          (This page must be completed and filed in every case)                                 Laura C. Voegtle
                                                                                                                                                                                         Signatures
                                                                                                                      Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
                                                                                                            I declare under penalty of perjury that the information provided in this petition
                                                                                                            is true and correct.
                                                                                                            [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                                            has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                            chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                                            available under each such chapter, and choose to proceed under chapter 7.
                                                                                                            [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                                            petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                            I request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                            I request relief in accordance with the chapter of title 11, United States                      Certified copies of the documents required by 11 U.S.C. § 1515 of title 11 are
                                                                                                            Code, specified in this petition.                                                               attached.

                                                                                                                                                                                                            Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                            title 11 specified in this petition. A certified copy of the order granting
                                                                                                                                                                                                            recognition of the foreign main proceeding is attached.
                                                                                                            X /s/ Laura C. Voegtle
                                                                                                                Signature of Debtor                                                                X
                                                                                                                                                                                                       (Signature of Foreign Representative)
                                                                                                            X
                                                                                                                Signature of Joint Debtor

                                                                                                                                                                                                        (Printed Name of Foreign Representative)
                                                                                                                 Telephone Number (If not represented by attorney)
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                                                                                                                 August 4, 2014
                                                                                                                                                                                                         (Date)
                                                                                                                 Date

                                                                                                                                 Signature of Attorney*                                                     Signature of Non-Attorney Petition Preparer
                                                                                                           X       /s/ James T Magee
                                                                                                                Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
                                                                                                                                                                                                  as defined in 11 U.S.C. § 110, (2) I prepared this document for compensation,
                                                                                                                JAMES T MAGEE 1729446                                                             and have provided the debtor with a copy of this document and the notices and
                                                                                                                Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                                  information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and, (3) if
                                                                                                                                                                                                  rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                                                                                                                Magee, Negele & Associates, P.C.                                                  setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                                Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                                444 North Cedar Lake Road                                                         document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                                Address                                                                           required in that section. Official Form 19 is attached.

                                                                                                                Round Lake, Illinois 60073
                                                                                                                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                                (847) 546-0055
                                                                                                               Telephone Number
                                                                                                                                                                                                  Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                                August 4, 2014                                                                    state the Social Security number of the officer, principal, responsible person or
                                                                                                              Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                           *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                           certification that the attorney has no knowledge after an inquiry that the
                                                                                                           information in the schedules is incorrect.                                              Address

                                                                                                                   Signature of Debtor (Corporation/Partnership)
                                                                                                             I declare under penalty of perjury that the information provided in this petition
                                                                                                             is true and correct, and that I have been authorized to file this petition on       X
                                                                                                             behalf of the debtor.

                                                                                                             The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                             United States Code, specified in this petition.
                                                                                                                                                                                                     Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                                     person, or partner whose Social Security number is provided above.
                                                                                                           X
                                                                                                                Signature of Authorized Individual                                                   Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                                     not an individual:
                                                                                                                Printed Name of Authorized Individual
                                                                                                                                                                                                     If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                                     conforming to the appropriate official form for each person.
                                                                                                                Title of Authorized Individual
                                                                                                                                                                                                     A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                                     and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                               Date
                                                                                                                                                                                                     imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
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                                                                                                          B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                                                                                                         Northern District of Illinois




                                                                                                                Laura C. Voegtle
                                                                                                          In re______________________________________                                Case No._____________
                                                                                                                          Debtor(s)                                                        (if known)


                                                                                                                     EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                                     CREDIT COUNSELING REQUIREMENT

                                                                                                                  Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                          credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                          case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                          filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                          you. If your case is dismissed and you file another bankruptcy case later, you may be
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                                                                                                          required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                          collection activities.

                                                                                                                 Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                          must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                          any documents as directed.

                                                                                                                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                          services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                          developed through the agency.

                                                                                                                  2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                          the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                          services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                          no later than 14 days after your bankruptcy case is filed.
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                                                                                                                  3. I certify that I requested credit counseling services from an approved agency but
                                                                                                          was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                          following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                          so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                                 If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                          counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                          promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                          copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                          requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                          can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                          be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                          without first receiving a credit counseling briefing.

                                                                                                                 4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                          applicable statement.] [Must be accompanied by a motion for determination by the court.]
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                                                                                                                         Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                                 illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                                 decisions with respect to financial responsibilities.);
                                                                                                                         Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                                 extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                                 briefing in person, by telephone, or through the Internet.);
                                                                                                                         Active military duty in a military combat zone.

                                                                                                                 5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                          counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                                 I certify under penalty of perjury that the information provided above is true and
                                                                                                          correct.



                                                                                                                                       Signature of Debtor:              /s/ Laura C. Voegtle
                                                                                                                                                                        LAURA C. VOEGTLE

                                                                                                                                                                     August 4, 2014
                                                                                                                                                            Date: _________________
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                                                                                                          B6 Cover (Form 6 Cover) (12/07)



                                                                                                          FORM 6. SCHEDULES

                                                                                                          Summary of Schedules
                                                                                                          Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                                          Schedule A - Real Property
                                                                                                          Schedule B - Personal Property
                                                                                                          Schedule C - Property Claimed as Exempt
                                                                                                          Schedule D - Creditors Holding Secured Claims
                                                                                                          Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                                          Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                                          Schedule G - Executory Contracts and Unexpired Leases
                                                                                                          Schedule H - Codebtors
                                                                                                          Schedule I - Current Income of Individual Debtor(s)
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                                                                                                          Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                                          Unsworn Declaration under Penalty of Perjury


                                                                                                          GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                                          amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                                          identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                                          the case number should be left blank

                                                                                                          Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                                          claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                                          A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                                          which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                                          the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                                          transactions, each claim should be scheduled separately.

                                                                                                          Review the specific instructions for each schedule before completing the schedule.
                                                                                                                         Case
                                                                                                          B6A (Official Form 6A)14-28537
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                                                                                                          In re    Laura C. Voegtle                                                                      Case No.
                                                                                                                                     Debtor                                                                                                    (If known)

                                                                                                                                                          SCHEDULE A - REAL PROPERTY
                                                                                                             Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                                          tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                                          the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                                          “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                                          “Description and Location of Property.”

                                                                                                            Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                          Unexpired Leases.

                                                                                                              If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                          claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                             If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                          Property Claimed as Exempt.




                                                                                                                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                  OR COMMUNITY
                                                                                                                                                                                                                                         CURRENT VALUE
                                                                                                                                                                                                                                           OF DEBTOR’S
                                                                                                                         DESCRIPTION AND LOCATION                             NATURE OF DEBTOR’S                                           INTEREST IN      AMOUNT OF
                                                                                                                                OF PROPERTY                                  INTEREST IN PROPERTY                                      PROPERTY, WITHOUT     SECURED
                                                                                                                                                                                                                                         DEDUCTING ANY        CLAIM
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                                                                                                                                                                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                          OR EXEMPTION



                                                                                                                  None




                                                                                                                                                                                                        Total
                                                                                                                                                                                                                                                   0.00

                                                                                                                                                                                                        (Report also on Summary of Schedules.)
                                                                                                                         Case
                                                                                                          B6B (Official Form 6B)14-28537
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                                                                                                          In re     Laura C. Voegtle                                                                             Case No.
                                                                                                                                            Debtor                                                                                   (If known)

                                                                                                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                                               Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                          place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                          identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                          community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                          individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                              Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                          Unexpired Leases.

                                                                                                                If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                          If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                          "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                                          HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                 CURRENT VALUE OF




                                                                                                                                                                                                                                            OR COMMUNITY
                                                                                                                                                                                                                                                                 DEBTOR’S INTEREST
                                                                                                                                                                    N                                                                                               IN PROPERTY,
                                                                                                                       TYPE OF PROPERTY                             O                        DESCRIPTION AND LOCATION                                                 WITHOUT
                                                                                                                                                                    N                              OF PROPERTY                                                    DEDUCTING ANY
                                                                                                                                                                    E                                                                                             SECURED CLAIM
                                                                                                                                                                                                                                                                   OR EXEMPTION
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                                                                                                            1. Cash on hand.                                               Cash on Hand                                                                                    20.00
                                                                                                            2. Checking, savings or other financial accounts,              Deposits of Money (TCF Bank Checking #5013)                                                    200.00
                                                                                                            certificates of deposit, or shares in banks, savings
                                                                                                            and loan, thrift, building and loan, and homestead             Deposits of Money (US Bank Checking #7003) (Joint                                              300.00
                                                                                                            associations, or credit unions, brokerage houses,              Account)
                                                                                                            or cooperatives.


                                                                                                            3. Security deposits with public utilities,                    Landlord's Security Deposit (Joint)                                                          3,375.00
                                                                                                            telephone companies, landlords, and others.

                                                                                                            4. Household goods and furnishings, including                  Livingroom Furniture, Television and DVD Player (Joint)                                        450.00
                                                                                                            audio, video, and computer equipment.
                                                                                                                                                                           Freezer, Kitchen Utensils, Kitchen Table and Chairs (Joint)                                  1,400.00
                                                                                                            5. Books. Pictures and other art objects,               X
                                                                                                            antiques, stamp, coin, record, tape, compact disc,
                                                                                                            and other collections or collectibles.

                                                                                                            6. Wearing apparel.                                            Wearing Apparel                                                                                500.00
                                                                                                            7. Furs and jewelry.                                           Jewelry (Joint)                                                                                500.00
                                                                                                            8. Firearms and sports, photographic, and other                Camera and Home Computer (Joint)                                                               300.00
                                                                                                            hobby equipment.

                                                                                                            9. Interests in insurance policies. Name                X
                                                                                                            insurance company of each policy and itemize
                                                                                                            surrender or refund value of each.

                                                                                                            10. Annuities. Itemize and name each issuer.            X
                                                                                                            11. Interests in an education IRA as defined in 26      X
                                                                                                            U.S.C. § 530(b)(1) or under a qualified State
                                                                                                            tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                            Give particulars. (File separately the record(s) of
                                                                                                            any such interest(s). 11 U.S.C. § 521(c).)

                                                                                                            12. Interests in IRA, ERISA, Keogh, or other            X
                                                                                                            pension or profit sharing plans. Give particulars.
                                                                                                                         Case
                                                                                                          B6B (Official Form 6B)14-28537
                                                                                                                                (12/07) -- Cont.                   Doc 1     Filed 08/04/14 Entered 08/04/14 13:31:09                    Desc Main
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                                                                                                          In re     Laura C. Voegtle                                                                            Case No.
                                                                                                                                            Debtor                                                                          (If known)

                                                                                                                                                               SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                                  (Continuation Sheet)




                                                                                                                                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                        CURRENT VALUE OF




                                                                                                                                                                                                                                   OR COMMUNITY
                                                                                                                                                                                                                                                        DEBTOR’S INTEREST
                                                                                                                                                                    N                                                                                      IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                              O                    DESCRIPTION AND LOCATION                                            WITHOUT
                                                                                                                                                                    N                          OF PROPERTY                                               DEDUCTING ANY
                                                                                                                                                                    E                                                                                    SECURED CLAIM
                                                                                                                                                                                                                                                          OR EXEMPTION


                                                                                                            13. Stock and interests in incorporated and             X
                                                                                                            unincorporated businesses. Itemize.

                                                                                                            14. Interests in partnerships or joint ventures.        X
                                                                                                            Itemize.

                                                                                                            15. Government and corporate bonds and other            X
                                                                                                            negotiable and non-negotiable instruments.

                                                                                                            16. Accounts receivable.                                X
                                                                                                            17. Alimony, maintenance, support, and property         X
                                                                                                            settlement to which the debtor is or may be
                                                                                                            entitled. Give particulars.
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                                                                                                            18. Other liquidated debts owing debtor including       X
                                                                                                            tax refunds. Give particulars.

                                                                                                            19. Equitable or future interests, life estates, and    X
                                                                                                            rights or powers exercisable for the benefit of the
                                                                                                            debtor other than those listed in Schedule A - Real
                                                                                                            Property.

                                                                                                            20. Contingent and noncontingent interests in           X
                                                                                                            estate or a decedent, death benefit plan, life
                                                                                                            insurance policy, or trust.

                                                                                                            21. Other contingent and unliquidated claims of                EEOC Suit for Wrongful Termination                                             Unknown
                                                                                                            every nature, including tax refunds, counterclaims
                                                                                                            of the debtor, and rights of setoff claims. Give
                                                                                                            estimated value of each.

                                                                                                            22. Patents, copyrights, and other intellectual         X
                                                                                                            property. Give particulars.

                                                                                                            23. Licenses, franchises, and other general             X
                                                                                                            intangibles. Give particulars.

                                                                                                            24. Customer lists or other compilations                X
                                                                                                            containing personally identifiable information (as
                                                                                                            defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                            debtor by individuals in connection with obtaining
                                                                                                            a product or service from the debtor primarily for
                                                                                                            personal, family, or household purposes.

                                                                                                            25. Automobiles, trucks, trailers, and other                   2008 Toyota Camry (93,600 miles) (body damage)                                      3,500.00
                                                                                                            vehicles and accessories.
                                                                                                                                                                           1997 Ford Mustang GT (35,000 miles) (Joint)                                         7,000.00
                                                                                                            26. Boats, motors, and accessories.                     X
                                                                                                            27. Aircraft and accessories.                           X
                                                                                                            28. Office equipment, furnishings, and supplies.        X
                                                                                                            29. Machinery, fixtures, equipment, and supplies        X
                                                                                                            used in business.
                                                                                                                        Case6B)14-28537
                                                                                                          B6B (Official Form    (12/07) -- Cont.Doc             1      Filed 08/04/14 Entered 08/04/14 13:31:09                                  Desc Main
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                                                                                                          In re     Laura C. Voegtle                                                                  Case No.
                                                                                                                                           Debtor                                                                              (If known)

                                                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                            (Continuation Sheet)




                                                                                                                                                                                                                                         HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                CURRENT VALUE OF




                                                                                                                                                                                                                                           OR COMMUNITY
                                                                                                                                                                                                                                                                DEBTOR’S INTEREST
                                                                                                                                                            N                                                                                                      IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                      O                      DESCRIPTION AND LOCATION                                                          WITHOUT
                                                                                                                                                            N                            OF PROPERTY                                                             DEDUCTING ANY
                                                                                                                                                            E                                                                                                    SECURED CLAIM
                                                                                                                                                                                                                                                                  OR EXEMPTION


                                                                                                            30. Inventory.                                  X
                                                                                                            31. Animals.                                            Dogs (Joint)                                                                                         600.00
                                                                                                            32. Crops - growing or harvested. Give          X
                                                                                                            particulars.

                                                                                                            33. Farming equipment and implements.           X
                                                                                                            34. Farm supplies, chemicals, and feed.         X
                                                                                                            35. Other personal property of any kind not     X
                                                                                                            already listed. Itemize.
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                                                                                                                                                                                      0                                                                         $
                                                                                                                                                                                             continuation sheets attached        Total                                18,145.00
                                                                                                                                                                                             (Include amounts from any continuation
                                                                                                                                                                                               sheets attached. Report total also on
                                                                                                                                                                                                     Summary of Schedules.)
                                                                                                                            Case 14-28537          Doc 1       Filed 08/04/14 Entered 08/04/14 13:31:09                          Desc Main
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                                                                                                          In re    Laura C. Voegtle                                                                Case No.
                                                                                                                                    Debtor                                                                               (If known)

                                                                                                                                   SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                            Debtor claims the exemptions to which debtor is entitled under:
                                                                                                            (Check one box)

                                                                                                                  11 U.S.C. § 522(b)(2)                                           Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                                  $155,675*.
                                                                                                                  11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                                     CURRENT
                                                                                                                                                                         SPECIFY LAW                        VALUE OF            VALUE OF PROPERTY
                                                                                                                      DESCRIPTION OF PROPERTY                          PROVIDING EACH                       CLAIMED             WITHOUT DEDUCTING
                                                                                                                                                                          EXEMPTION                        EXEMPTION                EXEMPTION


                                                                                                             Cash on Hand                                    735 I.L.C.S 5§12-1001(b)                                20.00                      20.00

                                                                                                             Deposits of Money (TCF Bank Checking            735 I.L.C.S 5§12-1001(b)                               200.00                     200.00
                                                                                                             #5013)

                                                                                                             Deposits of Money (US Bank Checking             735 I.L.C.S 5§12-1001(b)                               150.00                     300.00
                                                                                                             #7003) (Joint Account)
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                                                                                                             Landlord's Security Deposit (Joint)             735 I.L.C.S 5§12-901                                 3,375.00                    3,375.00

                                                                                                             Livingroom Furniture, Television and DVD        735 I.L.C.S 5§12-1001(b)                               225.00                     450.00
                                                                                                             Player (Joint)

                                                                                                             Freezer, Kitchen Utensils, Kitchen Table        735 I.L.C.S 5§12-1001(b)                               250.00                    1,400.00
                                                                                                             and Chairs (Joint)

                                                                                                             Wearing Apparel                                 735 I.L.C.S 5§12-1001(a)                               500.00                     500.00

                                                                                                             Jewelry (Joint)                                 735 I.L.C.S 5§12-1001(b)                               250.00                     500.00

                                                                                                             Camera and Home Computer (Joint)                735 I.L.C.S 5§12-1001(b)                                 0.00                     300.00

                                                                                                             EEOC Suit for Wrongful Termination              735 I.L.C.S 5§12-1001(b)                    Unknown                    Unknown

                                                                                                             2008 Toyota Camry (93,600 miles) (body          735 I.L.C.S 5§12-1001(b)                               600.00                    3,500.00
                                                                                                             damage)                                         735 I.L.C.S 5§12-1001(c)                             2,400.00

                                                                                                             1997 Ford Mustang GT (35,000 miles)             735 I.L.C.S 5§12-1001(b)                             2,305.00                    7,000.00
                                                                                                             (Joint)

                                                                                                             Dogs (Joint)                                    735 I.L.C.S 5§12-1001(b)                                 0.00                     600.00




                                                                                                           *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                          B6D (Official Form 6D) (12/07)

                                                                                                                   Laura C. Voegtle
                                                                                                          In re _______________________________________________,                                                         Case No. _________________________________
                                                                                                                                        Debtor                                                                                                                          (If known)

                                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                    State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                          by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                          useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                          such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                                     List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                                          address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                                          §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                          include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                          husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                                          "Husband, Wife, Joint, or Community."
                                                                                                                    If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                          labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                          one of these three columns.)
                                                                                                                    Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                          labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                          Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                          the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
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                                                                                                                                                                                                                                                                    AMOUNT
                                                                                                                                                                    HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                        UNLIQUIDATED
                                                                                                                                                                                                                           CONTINGENT
                                                                                                                                                                                             DATE CLAIM WAS INCURRED,                                                  OF
                                                                                                                                                         CODEBTOR




                                                                                                                                                                                                                                                       DISPUTED
                                                                                                                                                                       ORCOMMUNITY




                                                                                                                     CREDITOR’S NAME,
                                                                                                                      MAILING ADDRESS                                                           NATURE OF LIEN, AND                                                  CLAIM           UNSECURED
                                                                                                                    INCLUDING ZIP CODE,                                                          DESCRIPTION AND                                                    WITHOUT           PORTION,
                                                                                                                   AND ACCOUNT NUMBER                                                           VALUE OF PROPERTY                                                  DEDUCTING           IF ANY
                                                                                                                     (See Instructions Above.)                                                    SUBJECT TO LIEN                                                   VALUE OF
                                                                                                                                                                                                                                                                  COLLATERAL


                                                                                                          ACCOUNT NO.




                                                                                                                                                                                           VALUE $
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                           VALUE $
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                           VALUE $

                                                                                                             0
                                                                                                           _______continuation sheets attached                                                                            Subtotal     $                                0.00    $          0.00
                                                                                                                                                                                                                  (Total of this page)
                                                                                                                                                                                                                              Total    $                                0.00    $          0.00
                                                                                                                                                                                                               (Use only on last page)
                                                                                                                                                                                                                                                        (Report also on       (If applicable, report
                                                                                                                                                                                                                                                        Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                              Summary of Certain
                                                                                                                                                                                                                                                                              Liabilities and Related
                                                                                                                                                                                                                                                                              Data.)
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                                                                                                          B6E (Official Form 6E) (04/13)


                                                                                                                    Laura C. Voegtle
                                                                                                             In re________________________________________________________________,                         Case No.______________________________
                                                                                                                                     Debtor                                                                               (if known)

                                                                                                                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                            unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                            address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                            property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                            the type of priority.

                                                                                                                   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                            the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                            "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                            entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                            both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                            Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                            in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                            more than one of these three columns.)

                                                                                                                  Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                            Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                                      Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
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                                                                                                            amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                            primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                                     Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                            amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                            with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                            Data.



                                                                                                                Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                           TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                                 Domestic Support Obligations

                                                                                                                Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                          or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                          11 U.S.C. § 507(a)(1).


                                                                                                                 Extensions of credit in an involuntary case

                                                                                                                Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                                 Wages, salaries, and commissions

                                                                                                                   Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                           independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                           cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                                 Contributions to employee benefit plans

                                                                                                                      Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                              cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                                   *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
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                                                                                                                        Laura C. Voegtle
                                                                                                                In re________________________________________________________________,                      Case No.______________________________
                                                                                                                                        Debtor                                                                            (if known)




                                                                                                                 Certain farmers and fishermen
                                                                                                               Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                                 Deposits by individuals
                                                                                                               Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                           that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                                 Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                               Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
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                                                                                                                 Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                                              Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                           Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                           U.S.C. § 507 (a)(9).



                                                                                                                 Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                                Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                                          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).



                                                                                                                 * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                                 adjustment.




                                                                                                                                                                     1
                                                                                                                                                                    ____ continuation sheets attached
                                                                                                                       Case 14-28537                Doc 1                        Filed 08/04/14 Entered 08/04/14 13:31:09                                                                Desc Main
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                                                                                                                    Laura
                                                                                                                In re      C. Voegtle
                                                                                                                      __________________________________________________,                                                                                          Case No. _________________________________
                                                                                                                                              Debtor                                                                                                                                   (If known)

                                                                                                               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)                                          Sec. 507(a)(8)

                                                                                                                                                                                                                                                             Type of Priority for Claims Listed on This Sheet




                                                                                                                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                         ORCOMMUNITY




                                                                                                                                                                                                                      CONTINGENT
                                                                                                                                                                                                                                                                                                      AMOUNT

                                                                                                                                                            CODEBTOR
                                                                                                                      CREDITOR’S NAME,                                                         DATE CLAIM WAS




                                                                                                                                                                                                                                                  DISPUTED
                                                                                                                      MAILING ADDRESS                                                           INCURRED AND                                                       AMOUNT            AMOUNT             NOT
                                                                                                                    INCLUDING ZIP CODE,                                                        CONSIDERATION                                                         OF            ENTITLED TO       ENTITLED
                                                                                                                   AND ACCOUNT NUMBER                                                             FOR CLAIM                                                         CLAIM           PRIORITY            TO
                                                                                                                     (See instructions above..)                                                                                                                                                     PRIORITY, IF
                                                                                                                                                                                                                                                                                                        ANY

                                                                                                          ACCOUNT NO.
                                                                                                                            2208                                                              Incurred: 2011
                                                                                                          Internal Revenue Service                                                            Federal Income Taxes
                                                                                                          P. O. Box 7346                                                                                                                                             4,000.00          4,000.00             0.00
                                                                                                          Philadelphia, PA 19101-7346
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                                                                                                          ACCOUNT NO.




                                                                                                          ACCOUNT NO.




                                                                                                          ACCOUNT NO.




                                                                                                                     1 of ___continuation
                                                                                                                           1                                                                                       Subtotal                                   $      4,000.00      $   4,000.00     $       0.00
                                                                                                          Sheet no. ___                    sheets attached to Schedule of                                 (Totals of this page)
                                                                                                          Creditors Holding Priority Claims
                                                                                                                                                                                                                  Total                                       $      4,000.00
                                                                                                                                                                        (Use only on last page of the completed
                                                                                                                                                                        Schedule E.) Report also on the Summary
                                                                                                                                                                        of Schedules)

                                                                                                                                                                                                                   Totals                                     $                    $   4,000.00      $      0.00
                                                                                                                                                                        (Use only on last page of the completed
                                                                                                                                                                        Schedule E. If applicable, report also on
                                                                                                                                                                        the Statistical Summary of Certain
                                                                                                                                                                        Liabilities and Related Data.)
                                                                                                                         Case 14-28537                 Doc 1                     Filed 08/04/14 Entered 08/04/14 13:31:09                                                   Desc Main
                                                                                                                                                                                  Document     Page 16 of 58
                                                                                                          B6F (Official Form 6F) (12/07)

                                                                                                                   Laura C. Voegtle
                                                                                                           In re __________________________________________,                                                                Case No. _________________________________
                                                                                                                                          Debtor                                                                                                                       (If known)

                                                                                                                SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                           against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                           useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                           of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                           1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                           appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                           community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                                     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                           "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                                     Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                           Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                           Related Data.
                                                                                                                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                        UNLIQUIDATED
                                                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                                           CONTINGENT
                                                                                                                                                               CODEBTOR




                                                                                                                                                                                                     DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                       DISPUTED
                                                                                                                      CREDITOR’S NAME,                                                                                                                                                AMOUNT
                                                                                                                       MAILING ADDRESS                                                                 CONSIDERATION FOR CLAIM.
                                                                                                                                                                                                     IF CLAIM IS SUBJECT TO SETOFF,                                                     OF
                                                                                                                     INCLUDING ZIP CODE,
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                                                                                                                                                                                                                SO STATE.                                                              CLAIM
                                                                                                                    AND ACCOUNT NUMBER
                                                                                                                      (See instructions above.)

                                                                                                          ACCOUNT NO.         0230                                                               Balance on Account
                                                                                                          Advanced Radiology Consultants
                                                                                                          520 East 22nd Street                                                                                                                                                             1,367.00
                                                                                                          Lombard, IL 60148



                                                                                                          ACCOUNT NO.         3338                                                               Balance on Account
                                                                                                          Advanced Surg Care of No. IL
                                                                                                          802 Fox Glen                                                                                                                                                                          84.60
                                                                                                          Barrington, IL 60010-1860



                                                                                                          ACCOUNT NO.         5067                                                               Balance on Account
                                                                                                          Advocate Good Shepherd Hospital
                                                                                                          450 West Highway 22                                                                                                                                                                  690.00
                                                                                                          Barrington, IL 60010



                                                                                                          ACCOUNT NO.         8382                                                               Balance on Account
                                                                                                          Advocate Lutheran General Hosp.
                                                                                                          1775 Dempster Street                                                                                                                                                            13,156.80
                                                                                                          Park Ridge, IL 60068




                                                                                                                15
                                                                                                              _______continuation sheets attached                                                                                        Subtotal                                 $       15,298.40
                                                                                                                                                                                                                              Total                                               $
                                                                                                                                                                               (Use only on last page of the completed Schedule F.)
                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-28537               Doc 1                      Filed 08/04/14 Entered 08/04/14 13:31:09                                                              Desc Main
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                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Laura C. Voegtle
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      3621                                                              Suit Filed on Account
                                                                                                          Anna Upadhyaya
                                                                                                          23422 Arora Hills Drive                                                                                                                                                                 11,250.00
                                                                                                          Clarksville, MD 20871
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                                                                                                          ACCOUNT NO.      4971                                                              Balance on Account
                                                                                                          Arlington Ridge Pathology SC
                                                                                                          /co Medical Recovery Spec.                                                                                                                                                                800.00
                                                                                                          2250 East Devon Ave., #352
                                                                                                          Des Plaines, IL 60018-4521


                                                                                                          ACCOUNT NO.      6182                                                              Balance on Account
                                                                                                          Arlington Ridge Pathology SC
                                                                                                          520 East 22nd Street                                                                                                                                                                       18.00
                                                                                                          Lombard, IL 60148



                                                                                                          ACCOUNT NO.      4179                                                              Balance on Account
                                                                                                          AT&T
                                                                                                          c/o Receivables Performance                                                                                                                                                               756.00
                                                                                                          20816 44th Ave West
                                                                                                          Lynnwood, WA 98036


                                                                                                           ACCOUNT NO.     5996                                                              Balance on Account
                                                                                                          AT&T Midwest
                                                                                                          c/o I.C. System, Inc.                                                                                                                                                                      68.00
                                                                                                          P. O. Box 64437
                                                                                                          St. Paul, MN 55164-0437


                                                                                                                     1 of _____continuation
                                                                                                          Sheet no. _____    15               sheets attached                                                                                     Subtotal                                  $    12,892.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-28537               Doc 1                      Filed 08/04/14 Entered 08/04/14 13:31:09                                                              Desc Main
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                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Laura C. Voegtle
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      5536                                                              Balance on Account
                                                                                                          AT&T-Illinois
                                                                                                          c/o Bay Area Credit Servic                                                                                                                                                                 68.00
                                                                                                          1000 Abernathy Rd NE
                                                                                                          Atlanta, GA 30328
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                                                                                                          ACCOUNT NO.      1764                                                              Balance on Account
                                                                                                          Best Practices Inpatient Care
                                                                                                          P. O. Box 268                                                                                                                                                                              64.20
                                                                                                          Lake Zurich, IL 60047-0268



                                                                                                          ACCOUNT NO.      1045                                                              Balance on Account
                                                                                                          Best Practices of Northwest
                                                                                                          c/o Miramedrg                                                                                                                                                                             921.00
                                                                                                          991 Oak Creek Drive
                                                                                                          Lombard, IL 60148


                                                                                                          ACCOUNT NO.      7957                                                              Balance on Account
                                                                                                          Blockbuster
                                                                                                          c/o NAFS                                                                                                                                                                                   67.75
                                                                                                          P. O. Box 9027
                                                                                                          Williamsville, NY 14231-9027


                                                                                                           ACCOUNT NO.     3951                                                              Balance on Account
                                                                                                          Cepamerica Illinois
                                                                                                          c/o Stanislaus Credit                                                                                                                                                                     243.27
                                                                                                          P. O. Box 480
                                                                                                          Modesto, CA 95353


                                                                                                                     2 of _____continuation
                                                                                                          Sheet no. _____    15               sheets attached                                                                                     Subtotal                                  $     1,364.22
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-28537               Doc 1                      Filed 08/04/14 Entered 08/04/14 13:31:09                                                              Desc Main
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                                                                                                                    Laura C. Voegtle
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                              AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                     OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      0641
                                                                                                          Comcast
                                                                                                          c/o Southwest Credit System                                                                                                                                                           Notice Only
                                                                                                          4120 International Pkwy, #1100
                                                                                                          Carrollton, TX 75007
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                                                                                                          ACCOUNT NO.      0641                                                              Balance on Account
                                                                                                          Comcast
                                                                                                          c/o Southwest Credit System                                                                                                                                                                   388.00
                                                                                                          5910 W Plano Pkwy
                                                                                                          Plano, TX 75093


                                                                                                          ACCOUNT NO.      1092
                                                                                                          ComEd
                                                                                                          c/o L J Ross and Associates                                                                                                                                                           Notice Only
                                                                                                          P. O. Box 6099
                                                                                                          Jackson, MI 49204


                                                                                                          ACCOUNT NO.      1092                                                              Balance on Account
                                                                                                          ComEd
                                                                                                          c/o L J Ross Associates                                                                                                                                                                       465.00
                                                                                                          4 Universal Way
                                                                                                          Jackson, MI 49202


                                                                                                           ACCOUNT NO.     6312                                                              Balance on Account
                                                                                                          Daniel T. Kim, DDS
                                                                                                          519 Ela Road                                                                                                                                                                                  344.00
                                                                                                          Lake Zurich, IL 60047



                                                                                                                     3 of _____continuation
                                                                                                          Sheet no. _____    15               sheets attached                                                                                     Subtotal                                  $          1,197.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-28537               Doc 1                      Filed 08/04/14 Entered 08/04/14 13:31:09                                                              Desc Main
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                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Laura C. Voegtle
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                            AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.                                                                        Balance on Account
                                                                                                          Direct Media Power, Inc.
                                                                                                          c/o Goldman & Ehrlich                                                                                                                                                                 Unknown
                                                                                                          20 South Clark Street, #500
                                                                                                          Chicago, IL 60603
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                                                                                                          ACCOUNT NO.      4EJM                                                              Balance on Account
                                                                                                          Eric J. Bessonny MD Sc
                                                                                                          c/o Medical Fin. Mgmt.                                                                                                                                                                      187.00
                                                                                                          8135 Milwaukee Avenue
                                                                                                          Niles, IL 60714-2828


                                                                                                          ACCOUNT NO.      4227                                                              Balance on Account
                                                                                                          Fahey Medical Center
                                                                                                          581 Golf Road                                                                                                                                                                                   84.00
                                                                                                          Des Plaines, IL 60016-2638



                                                                                                          ACCOUNT NO.      3883                                                              Balance on Account
                                                                                                          First Data Merchant Services
                                                                                                          c/o Transworld Systems, Inc.                                                                                                                                                                    30.60
                                                                                                          507 Prudential Road
                                                                                                          Horsham, PA 19044


                                                                                                           ACCOUNT NO.     9124                                                              Balance on Account
                                                                                                          First Premier Bank
                                                                                                          601 S Minnesota Avenue                                                                                                                                                                      494.00
                                                                                                          Sioux Falls, SD 57104



                                                                                                                     4 of _____continuation
                                                                                                          Sheet no. _____    15               sheets attached                                                                                     Subtotal                                  $         795.60
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-28537               Doc 1                      Filed 08/04/14 Entered 08/04/14 13:31:09                                                              Desc Main
                                                                                                                                                                               Document     Page 21 of 58
                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Laura C. Voegtle
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      2025                                                              Balance on Account
                                                                                                          Gail Bryant MD SC
                                                                                                          125 S. Wilke Road, #100                                                                                                                                                                    25.00
                                                                                                          Arlington Heights, IL 60005-1521
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                                                                                                          ACCOUNT NO.      5172                                                              Balance on Account
                                                                                                          Glenview Fire Department
                                                                                                          P. O. Box 1157                                                                                                                                                                            700.00
                                                                                                          Glenview, IL 60025-8157



                                                                                                          ACCOUNT NO.      0419                                                              Balance on Account
                                                                                                          Godiva Chocolatier
                                                                                                          c/o TRS Recovery Services                                                                                                                                                                  25.00
                                                                                                          5251 Westheimer
                                                                                                          Houston, TX 77056


                                                                                                          ACCOUNT NO.      0432                                                              Balance on Account
                                                                                                          Good Shepherd Hospital
                                                                                                          c/o Illinois Collection Service                                                                                                                                                           540.84
                                                                                                          P. O. Box 1010
                                                                                                          Tinley Park, IL 60477-9110


                                                                                                           ACCOUNT NO.     5733                                                              Balance on Account
                                                                                                          IL Bone and Joint Institute
                                                                                                          5057 Paysphere Circle                                                                                                                                                                     357.00
                                                                                                          Chicago, IL 60674



                                                                                                                     5 of _____continuation
                                                                                                          Sheet no. _____    15               sheets attached                                                                                     Subtotal                                  $     1,647.84
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-28537               Doc 1                      Filed 08/04/14 Entered 08/04/14 13:31:09                                                              Desc Main
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                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Laura C. Voegtle
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      7930                                                              Balance on Account
                                                                                                          IL State Toll Hwy Authority
                                                                                                          c/o NCO Financial/980                                                                                                                                                                     213.00
                                                                                                          600 Holiday Plaza
                                                                                                          Matteson, IL 60443
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                                                                                                          ACCOUNT NO.      7001                                                              Balance on Account
                                                                                                          IL Tollway Hwy Authority
                                                                                                          c/o NCO Financial Systems                                                                                                                                                                 356.00
                                                                                                          600 Holiday Plaza
                                                                                                          Matteson, IL 60443


                                                                                                          ACCOUNT NO.      A001                                                              Balance on Account
                                                                                                          Janeen Samartino LCPC
                                                                                                          1655 N. Arlington Hts. Rd., #303E                                                                                                                                                         152.40
                                                                                                          Arlington Heights, IL 60004-3978



                                                                                                          ACCOUNT NO.      1275                                                              Balance on Account
                                                                                                          Massage Envy Lake Zurich
                                                                                                          c/o Transworld Systems, Inc.                                                                                                                                                              423.00
                                                                                                          1375 E. Woodfield Rd., #110
                                                                                                          Schaumburg, IL 60173


                                                                                                           ACCOUNT NO.     2292                                                              Balance on Account
                                                                                                          MHS Physicians Services
                                                                                                          P. O. Box 5081                                                                                                                                                                             81.60
                                                                                                          Janesville, WI 53547-5081



                                                                                                                     6 of _____continuation
                                                                                                          Sheet no. _____    15               sheets attached                                                                                     Subtotal                                  $     1,226.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-28537               Doc 1                      Filed 08/04/14 Entered 08/04/14 13:31:09                                                              Desc Main
                                                                                                                                                                               Document     Page 23 of 58
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                                                                                                                    Laura C. Voegtle
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      0230                                                              Balance on Account
                                                                                                          Midwest Diagnostic Pathology
                                                                                                          P. O. Box 578                                                                                                                                                                              27.00
                                                                                                          Park Ridge, IL 60068-0578
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                                                                                                          ACCOUNT NO.      0213                                                              Balance on Account
                                                                                                          Morris Mauer MD SC
                                                                                                          2010 North Harlem                                                                                                                                                                         425.00
                                                                                                          Elmwood Park, IL 60707-3119



                                                                                                          ACCOUNT NO.                                                                        Balance on Account
                                                                                                          NCH Medical Group
                                                                                                          25228 Network Place                                                                                                                                                                       200.00
                                                                                                          CHicago, IL 60673-1252



                                                                                                          ACCOUNT NO.      5194                                                              Balance on Account
                                                                                                          North Shore Oral Maxillofacial
                                                                                                          c/o Keynote Consulting                                                                                                                                                X                 1,153.00
                                                                                                          220 W. Campus Drive, #102
                                                                                                          Arlington Heights, IL 60004


                                                                                                           ACCOUNT NO.                                                                       Balance on Account
                                                                                                          Northwest Community Hospital
                                                                                                          25709 Network Place                                                                                                                                                                       487.63
                                                                                                          CHicago, IL 60673-1257



                                                                                                                     7 of _____continuation
                                                                                                          Sheet no. _____    15               sheets attached                                                                                     Subtotal                                  $     2,292.63
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-28537               Doc 1                      Filed 08/04/14 Entered 08/04/14 13:31:09                                                              Desc Main
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                                                                                                                    Laura C. Voegtle
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
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                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




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                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
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                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      0577                                                              Balance on Account
                                                                                                          Northwest Community Hospital
                                                                                                          c/o Harris & Harris Ltd                                                                                                                                                                   125.00
                                                                                                          111 W Jackson Blvd S-400
                                                                                                          Chicago, IL 60604
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                                                                                                          ACCOUNT NO.      7409                                                              Balance on Account
                                                                                                          Northwest Community Hospital
                                                                                                          c/o Harris & Harris Ltd                                                                                                                                                                   125.00
                                                                                                          111 W Jackson Blvd S-400
                                                                                                          Chicago, IL 60604


                                                                                                          ACCOUNT NO.      1164                                                              Balance on Account
                                                                                                          Northwest Community Hospital
                                                                                                          c/o Harris & Harris Ltd                                                                                                                                                                   125.00
                                                                                                          111 W Jackson Blvd S-400
                                                                                                          Chicago, IL 60604


                                                                                                          ACCOUNT NO.      0183                                                              Balance on Account
                                                                                                          Northwest Community Hospital
                                                                                                          c/o MiraMed Revenue Group                                                                                                                                                               1,827.79
                                                                                                          991 Oak Creek Drive
                                                                                                          Lombard, IL 60148


                                                                                                           ACCOUNT NO.     1243                                                              Balance on Account
                                                                                                          Northwest Eye Center
                                                                                                          c/o NCO Financial Systems                                                                                                                                                                 185.00
                                                                                                          507 Prudential Road
                                                                                                          Horsham, PA 19044


                                                                                                                     8 of _____continuation
                                                                                                          Sheet no. _____    15               sheets attached                                                                                     Subtotal                                  $     2,387.79
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-28537               Doc 1                      Filed 08/04/14 Entered 08/04/14 13:31:09                                                              Desc Main
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                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Laura C. Voegtle
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
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                                                                                                                     CREDITOR’S NAME,
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                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
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                                                                                                                    INCLUDING ZIP CODE,
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                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      7989                                                              Balance on Account
                                                                                                          Northwest Neurology, Ltd.
                                                                                                          2260 W. Higgins Road, #201                                                                                                                                                                327.00
                                                                                                          Hoffman Estate, IL 60169-2433
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                                                                                                          ACCOUNT NO.      6182                                                              Balance on Account
                                                                                                          Northwest Radiology Assoc.
                                                                                                          c/o Medical Recovery Spec.                                                                                                                                                                171.00
                                                                                                          2250 E. Devon Avenue, #352
                                                                                                          Des Plaines, IL 60018-4521


                                                                                                          ACCOUNT NO.                                                                        Balance on Account
                                                                                                          Northwest Radiology Associates
                                                                                                          520 East 22nd Street                                                                                                                                                                      210.00
                                                                                                          Lombard, IL 60148-6110



                                                                                                          ACCOUNT NO.      7329                                                              Balance on Account
                                                                                                          Nowaz MD
                                                                                                          c/o Choice Recovery                                                                                                                                                                       166.00
                                                                                                          1550 Old Henderson Rd
                                                                                                          Columbus, OH 43220


                                                                                                           ACCOUNT NO.     0301                                                              Balance on Account
                                                                                                          Payless Shoe Source
                                                                                                          c/o TRS Recovery Services                                                                                                                                                                  25.00
                                                                                                          5251 Westheimer
                                                                                                          Houston, TX 77056


                                                                                                                     9 of _____continuation
                                                                                                          Sheet no. _____    15               sheets attached                                                                                     Subtotal                                  $       899.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
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                                                                                                                    Laura C. Voegtle
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
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                                                                                                                     CREDITOR’S NAME,
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                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      7692                                                              Balance on Account
                                                                                                          Pediatric Faculty Foundation
                                                                                                          P. O. Box 4051                                                                                                                                                                            187.00
                                                                                                          Carol Sream, IL 60197-4051
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                                                                                                          ACCOUNT NO.      4144                                                              Balance on Account
                                                                                                          Peter E. Johnson MD
                                                                                                          8901 West Golf Road, #204                                                                                                                                                                 239.00
                                                                                                          Des Plaines, IL 60016-4028



                                                                                                          ACCOUNT NO.      6995                                                              Balance on Account
                                                                                                          Premier Bankcard, LLC
                                                                                                          c/o Rushmore Service Ctr                                                                                                                                                                  494.94
                                                                                                          P. O. Box 5508
                                                                                                          Sioux Falls, SD 57117-5508


                                                                                                          ACCOUNT NO.      6182                                                              Balance on Account
                                                                                                          Professional Cardiac Services
                                                                                                          520 East 22nd Street                                                                                                                                                                       15.00
                                                                                                          Lombard, IL 60148-6110



                                                                                                           ACCOUNT NO.                                                                       Balance on Account
                                                                                                          Quest Diabnostics
                                                                                                          1355 Mittel Boulevard                                                                                                                                                                      35.00
                                                                                                          Wooddale, IL 60191-1024



                                                                                                                     10 of _____continuation
                                                                                                          Sheet no. _____    15               sheets attached                                                                                     Subtotal                                  $       970.94
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
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                                                                                                                    Laura C. Voegtle
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




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                                                                                                                     CREDITOR’S NAME,
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                                                                                                                    INCLUDING ZIP CODE,
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                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      6769                                                              Balance on Account
                                                                                                          Quest Diagnostics
                                                                                                          c/o Credit Collection                                                                                                                                                                          35.00
                                                                                                          Two Wells Avenue
                                                                                                          Newton, MA 02459
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                                                                                                          ACCOUNT NO.      1378                                                              Balance on Account
                                                                                                          Regency Medical Center, P.C.
                                                                                                          200 Fox Glen Drive                                                                                                                                                                            456.00
                                                                                                          Barrington, IL 60010-1809



                                                                                                          ACCOUNT NO.      1938                                                              Student Loan
                                                                                                          Sallie Mae
                                                                                                          P. O. Box 9655                                  X                                                                                                                                            6,292.00
                                                                                                          Wilkes Barre, PA 18773



                                                                                                          ACCOUNT NO.

                                                                                                          Sallie Mae Inc.
                                                                                                          c/o NES of Ohio                                                                                                                                                                       Notice Only
                                                                                                          29125 Solon Road
                                                                                                          Solon, OH 44139-3442


                                                                                                           ACCOUNT NO.     4001                                                              Balance on Account
                                                                                                          Shah Nawaz, MD
                                                                                                          c/o FFCC-Columbus, Inc.                                                                                                                                                                       212.00
                                                                                                          1550 Old Henderson Rd., #100
                                                                                                          Columbus, OH 43220-3626


                                                                                                                     11 of _____continuation
                                                                                                          Sheet no. _____    15               sheets attached                                                                                     Subtotal                                  $          6,995.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
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                                                                                                                    Laura C. Voegtle
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




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                                                                                                                     CREDITOR’S NAME,
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                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      9721                                                              Balance on Account
                                                                                                          Suburban Ear Nose & Throat
                                                                                                          880 West Central Road                                                                                                                                                                     212.00
                                                                                                          Suite 7200
                                                                                                          Arlington Heights, IL 60005
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                                                                                                          ACCOUNT NO.      SSER                                                              Balance on Account
                                                                                                          Suburban Surgical Assistants
                                                                                                          P. O. Box 369                                                                                                                                                                             306.85
                                                                                                          New Lenox, IL 60451



                                                                                                          ACCOUNT NO.      60-1                                                              Balance on Account
                                                                                                          SuperValu 3415 Jewel/Osco
                                                                                                          c/o Commercial Check Control                                                                                                                                                              158.72
                                                                                                          7250 Beverly Blvd., #100
                                                                                                          Los Angeles, CA 90036-2560


                                                                                                          ACCOUNT NO.      3599                                                              Balance on Account
                                                                                                          Supervalu 3515 Jewel/Osco
                                                                                                          c/o Certegy Payment Recovery                                                                                                                                                              156.49
                                                                                                          3500 - 5th Street
                                                                                                          Northport, AL 35476


                                                                                                           ACCOUNT NO.     4472                                                              Balance on Account
                                                                                                          T-Mobile
                                                                                                          c/o Diversified                                                                                                                                                                           511.00
                                                                                                          10550 Deerwood Pk Blvd, #708
                                                                                                          Jacksonville, FL 32256


                                                                                                                     12 of _____continuation
                                                                                                          Sheet no. _____    15               sheets attached                                                                                     Subtotal                                  $     1,345.06
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
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                                                                                                                    Laura C. Voegtle
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




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                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      8321                                                              Balance on Account
                                                                                                          Taste of Home
                                                                                                          P. O. Box 5294                                                                                                                                                                                 12.00
                                                                                                          Harlan, IA 51593-0794
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                                                                                                          ACCOUNT NO.      5067                                                              Balance on Account
                                                                                                          Tri-County Emerg. Phys.
                                                                                                          P. O. Box 369                                                                                                                                                                                 145.00
                                                                                                          Barrington, IL 60011-0098



                                                                                                          ACCOUNT NO.      5067
                                                                                                          Tricounty Emrg. Physicians
                                                                                                          c/o Med Busi Bur                                                                                                                                                                      Notice Only
                                                                                                          1460 Renaissance Drive
                                                                                                          Park Ridge, IL 60068


                                                                                                          ACCOUNT NO.      5067
                                                                                                          Tricounty Emrg. Physicians
                                                                                                          c/o Med Business Bureau                                                                                                                                                               Notice Only
                                                                                                          P. O. Box 1219
                                                                                                          Park Ridge, IL 60068


                                                                                                           ACCOUNT NO.     2029                                                              Balance on Account
                                                                                                          US Bank National Association
                                                                                                          c/o Bonded Collection Corp.                                                                                                                                                                   260.82
                                                                                                          29 East Madison Street, #1650
                                                                                                          CHicago, IL 60602-4427


                                                                                                                     13 of _____continuation
                                                                                                          Sheet no. _____    15               sheets attached                                                                                     Subtotal                                  $           417.82
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-28537               Doc 1                      Filed 08/04/14 Entered 08/04/14 13:31:09                                                              Desc Main
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                                                                                                                    Laura C. Voegtle
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




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                                                                                                                     CREDITOR’S NAME,
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                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                                CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      1617                                                              Balance on Account
                                                                                                          US Cellular
                                                                                                          c/o CCA                                                                                                                                                                                       341.32
                                                                                                          700 Longwater Drive
                                                                                                          Norwell, MA 02061
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                                                                                                          ACCOUNT NO.      5889
                                                                                                          US Dept of Ed/FISL/AT
                                                                                                          Attn: Bankruptcy                                                                                                                                                                      Notice Only
                                                                                                          61 Forsythe Street, #19T89
                                                                                                          Atlanta, GA 30303


                                                                                                          ACCOUNT NO.      4321                                                              Student Loan
                                                                                                          US Dept of Ed/GSL/ATL
                                                                                                          P. O. Box 4222                                                                                                                                                                              58,545.00
                                                                                                          Iowa City, IA 52244



                                                                                                          ACCOUNT NO.      5889                                                              Student Loan
                                                                                                          US Dept of Ed/GSL/ATL
                                                                                                          P. O. Box 4222                                                                                                                                                                              47,031.00
                                                                                                          Iowa City, IA 52244



                                                                                                           ACCOUNT NO.     8687                                                              Student Loan
                                                                                                          US Dept of Ed/MOHELA
                                                                                                          633 Spirit Drive                                                                                                                                                                            10,962.90
                                                                                                          Chesterfield, MO 63005-1243



                                                                                                                     14 of _____continuation
                                                                                                          Sheet no. _____    15               sheets attached                                                                                     Subtotal                                  $        116,880.22
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
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                                                                                                                    Laura C. Voegtle
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




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                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      6781                                                              Balance on Account
                                                                                                          Victoria Select Insurance
                                                                                                          c/o Credit Collection                                                                                                                                                                         113.00
                                                                                                          P. O. Box 9134
                                                                                                          Needham, MA 02494
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                                                                                                          ACCOUNT NO.      6781
                                                                                                          Victoria Select Insurance
                                                                                                          c/o Credit Collections Svc                                                                                                                                                            Notice Only
                                                                                                          P. O. Box 773
                                                                                                          Needham, MA 02494


                                                                                                          ACCOUNT NO.      0390                                                              Balance on Account
                                                                                                          Wauconda Fire Protection Dist.
                                                                                                          P. O. Box 457                                                                                                                                                         X                       400.00
                                                                                                          Wheeling, IL 60090



                                                                                                          ACCOUNT NO.      8260                                                              Balance on Account
                                                                                                          Wheeling Animal Hospital
                                                                                                          c/o The Bureaus Inc.                                                                                                                                                                          168.00
                                                                                                          1717 Central Street
                                                                                                          Evanston, IL 60201


                                                                                                           ACCOUNT NO.




                                                                                                                     15 of _____continuation
                                                                                                          Sheet no. _____    15               sheets attached                                                                                     Subtotal                                  $           681.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $       167,290.52
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                         Case 14-28537             Doc 1        Filed 08/04/14 Entered 08/04/14 13:31:09                               Desc Main
                                                                                                          B6G (Official Form 6G) (12/07)
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                                                                                                                  Laura C. Voegtle                                                           Case No.
                                                                                                          In re
                                                                                                                                    Debtor                                                                               (if known)

                                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                                      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                            State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                            names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                            contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                            guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                  Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                             DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                                  NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                                     OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                                  NUMBER OF ANY GOVERNMENT CONTRACT.

                                                                                                                                                                                         Residential Lease
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                                                                                                                       Case 14-28537              Doc 1        Filed 08/04/14 Entered 08/04/14 13:31:09                             Desc Main
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                                                                                                          In re   Laura C. Voegtle                                                          Case No.
                                                                                                                                   Debtor                                                                              (if known)


                                                                                                                                                      SCHEDULE H - CODEBTORS
                                                                                                              Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                                          debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                                          property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                                          Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                                          name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                                          commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                                          commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                                          parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                                          Fed. Bankr. P. 1007(m).
                                                                                                              Check this box if debtor has no codebtors.



                                                                                                                        NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
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                                                                                                                             Case 14-28537              Doc 1       Filed 08/04/14 Entered 08/04/14 13:31:09                                    Desc Main
                                                                                                                                                                     Document     Page 34 of 58
                                                                                                           Fill in this information to identify your case:


                                                                                                           Debtor 1           Laura C. Voegtle
                                                                                                                              __________________________________________________________ _________
                                                                                                                               First Name             Middle Name             Last Name

                                                                                                           Debtor 2            __________________________________________________________________
                                                                                                           (Spouse, if filing) First Name             Middle Name             Last Name

                                                                                                                                                         Northern
                                                                                                           United States Bankruptcy Court for the: ___________________________             IL
                                                                                                                                                                               District of ________

                                                                                                           Case number         ___________________________________________                                        Check if this is:
                                                                                                            (If known)
                                                                                                                                                                                                                     An amended filing
                                                                                                                                                                                                                     A supplement showing post-petition
                                                                                                                                                                                                                     chapter 13 income as of the following date:
                                                                                                                                                                                                                     ________________
                                                                                                          Official Form                     6I                                                                       MM / DD / YYYY


                                                                                                          Schedule I: Your Income                                                                                                                              12/13

                                                                                                          Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                                                          supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                                                          If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                                                          separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                                                           Part 1:           Describe Employment


                                                                                                          1. Fill in your employment
                                                                                                              information.                                                          Debtor 1                                       Debtor 2 or non-filing spouse
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                                                                                                              If you have more than one job,
                                                                                                              attach a separate page with
                                                                                                              information about additional         Employment status                 Employed                                           Employed
                                                                                                              employers.                                                        X    Not employed                                       Not employed
                                                                                                              Include part-time, seasonal, or
                                                                                                              self-employed work.                                             Unemployed
                                                                                                                                                   Occupation                  __________________ ________________             __________________________________
                                                                                                              Occupation may Include student
                                                                                                              or homemaker, if it applies.
                                                                                                                                                   Employer’s name             __________________ ________________              __________________ ________________


                                                                                                                                                   Employer’s address         _______________________________________          _______________________________________
                                                                                                                                                                                Number Street                                   Number   Street

                                                                                                                                                                              _______________________________________          _______________________________________

                                                                                                                                                                              _______________________________________          _______________________________________

                                                                                                                                                                              _______________________________________          _______________________________________
                                                                                                                                                                                City           State  ZIP Code                  City                State ZIP Code

                                                                                                                                                   How long employed there?          _______                                     _______

                                                                                                           Part 2:           Give Details About Monthly Income

                                                                                                              Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                                                              spouse unless you are separated.
                                                                                                              If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                                                              below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                                                             For Debtor 1       For Debtor 2 or
                                                                                                                                                                                                                                non-filing spouse
                                                                                                           2. List monthly gross wages, salary, and commissions (before all payroll
                                                                                                               deductions). If not paid monthly, calculate what the monthly wage would be.            2.            0.00                    N.A.
                                                                                                                                                                                                            $___________              $____________

                                                                                                           3. Estimate and list monthly overtime pay.                                                 3.            0.00
                                                                                                                                                                                                           + $___________      +             N.A.
                                                                                                                                                                                                                                      $____________


                                                                                                           4. Calculate gross income. Add line 2 + line 3.                                            4.           0.00
                                                                                                                                                                                                            $__________                      N.A.
                                                                                                                                                                                                                                      $____________



                                                                                                          Official Form       6I                                           Schedule I: Your Income                                                         page 1
                  Case 14-28537                           Doc 1              Filed 08/04/14 Entered 08/04/14 13:31:09                                         Desc Main
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                  Laura C. Voegtle
Debtor 1         _______________________________________________________                                                   Case number (if known)_____________________________________
                 First Name          Middle Name                Last Name



                                                                                                                          For Debtor 1         For Debtor 2 or
                                                                                                                                               non-filing spouse
                                                                                                                                  0.00
                                                                                                                           $___________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
   Copy line 4 here ............................................................................................   4.

5. List all payroll deductions:

    5a. Tax, Medicare, and Social Security deductions                                                              5a.            0.00
                                                                                                                          $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
    5b. Mandatory contributions for retirement plans                                                               5b.            0.00
                                                                                                                           $____________                  N.A.
                                                                                                                                                   $_____________
    5c. Voluntary contributions for retirement plans                                                               5c.            0.00
                                                                                                                           $____________                  N.A.
                                                                                                                                                   $_____________
    5d. Required repayments of retirement fund loans                                                               5d.            0.00
                                                                                                                           $____________                  N.A.
                                                                                                                                                   $_____________
    5e. Insurance                                                                                                  5e.            0.00
                                                                                                                           $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
    5f. Domestic support obligations                                                                               5f.
                                                                                                                                  0.00
                                                                                                                           $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
                                                                                                                                  0.00
                                                                                                                           $____________
                                                                                                                                                          N.A.
                                                                                                                                                   $_____________
    5g. Union dues                                                                                                 5g.
    5h. Other deductions. Specify: __________________________________                                              5h.            0.00
                                                                                                                         + $____________       +          N.A.
                                                                                                                                                   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.             0.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________

                                                                                                                                  0.00                   N.A.
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.     $____________            $_____________


 8. List all other income regularly received:

    8a. Net income from rental property and from operating a business,
        profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                      0.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.            0.00                   N.A.
                                                                                                                                                   $_____________
                                                                                                                          $____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                  0.00                   N.A.
                                                                                                                          $____________            $_____________
           settlement, and property settlement.                                                                    8c.
    8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
     8e. Social Security                                                                                           8e.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
                                                                                                                                  0.00
                                                                                                                          $____________
                                                                                                                                                         N.A.
                                                                                                                                                   $_____________
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.

     8g. Pension or retirement income                                                                              8g.           0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________

     8h. Other monthly income. Specify: _______________________________                                            8h.            0.00
                                                                                                                         + $____________                N.A.
                                                                                                                                               + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.            0.00
                                                                                                                          $____________                   N.A.
                                                                                                                                                   $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                                 0.00
                                                                                                                          $___________     +             N.A. = $_____________
                                                                                                                                                   $_____________        0.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: ______________________________________ ___________________________ ______________                                                                                  0.00
                                                                                                                                                                 11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                                0.00
                                                                                                                                                                       $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                 12.
                                                                                                                                                                       Combined
                                                                                                                                                                       monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
           No.
     X     Yes. Explain:           Employer contesting unemployment compensation; Debtor is seeking employment.

Official Form       6I                                                               Schedule I: Your Income                                                               page 2
                                                                                                                              Case 14-28537               Doc 1        Filed 08/04/14 Entered 08/04/14 13:31:09                                  Desc Main
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                                                                                                            Fill in this information to identify your case:

                                                                                                            Debtor 1           Laura C. Voegtle
                                                                                                                              __________________________________________________________________
                                                                                                                               First Name               Middle Name             Last Name                       Check if this is:
                                                                                                            Debtor 2           ________________________________________________________________
                                                                                                            (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                                                                                                                                    An amended filing
                                                                                                                                                                                                                    A supplement showing post-petition chapter 13
                                                                                                                                                          Northern
                                                                                                            United States Bankruptcy Court for the: ___________________________             IL
                                                                                                                                                                                District of ________
                                                                                                                                                                                                                    expenses as of the following date:
                                                                                                                                                                                                                    ________________
                                                                                                            Case number        ___________________________________________                                          MM / DD / YYYY
                                                                                                            (If known)
                                                                                                                                                                                                                    A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                                                    maintains a separate household
                                                                                                          Official Form                      6J
                                                                                                          Schedule J: Your Expenses                                                                                                                              12/13

                                                                                                          Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                                                          information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                                                          (if known). Answer every question.

                                                                                                           Part 1:            Describe Your Household

                                                                                                          1. Is this a joint case?
                                                                                                             X    No. Go to line 2.
                                                                                                                  Yes. Does Debtor 2 live in a separate household?

                                                                                                                               No
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                                                                                                                               Yes. Debtor 2 must file a separate Schedule J.

                                                                                                          2. Do you have dependents?                      No                                 Dependent’s relationship to              Dependent’s     Does dependent live
                                                                                                             Do not list Debtor 1 and                 X   Yes. Fill out this information for Debtor 1 or Debtor 2                     age             with you?
                                                                                                             Debtor 2.                                    each dependent ..........................
                                                                                                                                                                                              daughter                                18                   No
                                                                                                             Do not state the dependents’                                                    __________________ _______               ________
                                                                                                             names.                                                                                                                                   X    Yes
                                                                                                                                                                                              son
                                                                                                                                                                                             __________________ _______
                                                                                                                                                                                                                                       16
                                                                                                                                                                                                                                      ________             No
                                                                                                                                                                                                                                                      X    Yes

                                                                                                                                                                                             __________________ _______               ________             No
                                                                                                                                                                                                                                                           Yes

                                                                                                                                                                                             __________________ _______               ________             No
                                                                                                                                                                                                                                                           Yes

                                                                                                                                                                                             __________________ _______               ________             No
                                                                                                                                                                                                                                                           Yes

                                                                                                          3. Do your expenses include                 X   No
                                                                                                             expenses of people other than
                                                                                                             yourself and your dependents?                Yes

                                                                                                          Part 2:         Estimate Your Ongoing Monthly Expenses

                                                                                                          Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                                                          expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                                                          applicable date.
                                                                                                          Include expenses paid for with non-cash government assistance if you know the value
                                                                                                          of such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                           Your expenses

                                                                                                           4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                         1,350.00
                                                                                                               any rent for the ground or lot.                                                                                  4.
                                                                                                                                                                                                                                        $_____________________

                                                                                                               If not included in line 4:
                                                                                                               4a.    Real estate taxes                                                                                         4a.
                                                                                                                                                                                                                                                         0.00
                                                                                                                                                                                                                                        $_____________________
                                                                                                               4b.    Property, homeowner’s, or renter’s insurance                                                              4b.                      0.00
                                                                                                                                                                                                                                        $_____________________
                                                                                                               4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                      0.00
                                                                                                                                                                                                                                        $_____________________
                                                                                                               4d.    Homeowner’s association or condominium dues                                                               4d.                      0.00
                                                                                                                                                                                                                                        $_____________________

                                                                                                          Official Form        6J                                       Schedule J: Your Expenses                                                            page 1
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 Debtor 1         Laura C. Voegtle
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                                     0.00
                                                                                                                     $_________________ ____
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:
                                                                                                                                      250.00
      6a.   Electricity, heat, natural gas                                                                    6a.    $_________________ ____
                                                                                                                                      175.00
      6b.   Water, sewer, garbage collection                                                                  6b.    $_________________ ____
                                                                                                                                         0.00
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_________________ ____
                                                                                                                                         0.00
      6d.   Other. Specify: _______________________________________________                                   6d.    $_________________ ____
                                                                                                                                      500.00
 7. Food and housekeeping supplies                                                                            7.     $_________________ ____
                                                                                                                                         0.00
 8. Childcare and children’s education costs                                                                  8.     $_________________ ____
                                                                                                                                      100.00
 9. Clothing, laundry, and dry cleaning                                                                       9.     $_________________ ____
                                                                                                                                         0.00
10.   Personal care products and services                                                                     10.    $_________________ ____
                                                                                                                                         0.00
11.   Medical and dental expenses                                                                             11.    $_________________ ____

12. Transportation. Include gas, maintenance, bus or train fare.                                                                      250.00
                                                                                                                     $_________________ ____
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                    0.00
                                                                                                                     $_________________ ____
14.   Charitable contributions and religious donations                                                        14.                    0.00
                                                                                                                     $_________________ ____
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.
                                                                                                                                     0.00
                                                                                                                     $_________________ ____
      15b. Health insurance                                                                                   15b.                   0.00
                                                                                                                     $_________________ ____
      15c. Vehicle insurance                                                                                  15c.                 108.00
                                                                                                                     $_________________ ____
      15d. Other insurance. Specify:_______________________________________                                   15d.                   0.00
                                                                                                                     $_________________ ____

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                      Income Taxes (est.)                                                                                          300.00
                                                                                                                     $_________________ ____
      Specify: ______________________________________ __________________                                      16.

17.   Installment or lease payments:
                                                                                                                                         0.00
      17a. Car payments for Vehicle 1                                                                         17a.   $_________________ ____
                                                                                                                                         0.00
      17b. Car payments for Vehicle 2                                                                         17b.   $_________________ ____
                                                                                                                                         0.00
      17c. Other. Specify:_________________________________ ______________                                    17c.   $_________________ ____
                                                                                                                                         0.00
      17d. Other. Specify:_________________________________ ______________                                    17d.   $_________________ ____

18.   Your payments of alimony, maintenance, and support that you did not report as deducted                                             0.00
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                                     18.   $_____________________


19.   Other payments you make to support others who do not live with you.
                                                                                                               19.                   0.00
                                                                                                                     $_____________________
      Specify:_______________________________________________________

20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.
                                                                                                                                         0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.
                                                                                                                                     0.00
                                                                                                                     $_____________________



 Official Form     6J                                          Schedule J: Your Expenses                                                   page 2
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 Debtor 1         Laura C. Voegtle
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name       Middle Name     Last Name




                              Bankruptcy Attorneys Fees                                                                                  200.00
21.    Other. Specify: ________________________________ _________________                                        21.   +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                               3,233.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                            0.00
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                 3,233.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.                                                                 -3,233.00
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

          No.
      X   Yes.     Explain here:
                    Debtor currently shares expenses with her fiancee.




 Official Form     6J                                         Schedule J: Your Expenses                                                       page 3
                                                                                                                       Case 14-28537                 Doc 1     Filed 08/04/14 Entered 08/04/14 13:31:09                          Desc Main
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                                                                                                                B6 Summary (Official Form 6 - Summary) (12/13)




                                                                                                                                                      United States Bankruptcy Court
                                                                                                                            Laura C. Voegtle
                                                                                                                                                                Northern District of Illinois

                                                                                                               In re                                                                                        Case No.
                                                                                                                                                                Debtor
                                                                                                                                                                                                            Chapter        7

                                                                                                                                                               SUMMARY OF SCHEDULES
                                                                                                          Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                                          I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                                          claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                                          Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                                     AMOUNTS SCHEDULED
                                                                                                                                                         ATTACHED
                                                                                                            NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER

                                                                                                            A – Real Property
                                                                                                                                                                                              $
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                                                                                                                                                         YES                     1                        0.00

                                                                                                            B – Personal Property
                                                                                                                                                         YES                     3            $     18,145.00

                                                                                                            C – Property Claimed
                                                                                                                as exempt                                YES                     1

                                                                                                            D – Creditors Holding
                                                                                                               Secured Claims                            YES                     1                                  $           0.00

                                                                                                            E - Creditors Holding Unsecured
                                                                                                                Priority Claims                                                                                     $
                                                                                                               (Total of Claims on Schedule E)
                                                                                                                                                         YES                     3                                          4,000.00

                                                                                                            F - Creditors Holding Unsecured                                                                         $
                                                                                                                Nonpriority Claims                       YES                     16                                       167,290.52

                                                                                                            G - Executory Contracts and
                                                                                                                Unexpired Leases                         YES                     1


                                                                                                            H - Codebtors                                YES                     1

                                                                                                            I - Current Income of
                                                                                                                Individual Debtor(s)                     YES                     2                                                        $          0.00

                                                                                                            J - Current Expenditures of Individual
                                                                                                                Debtors(s)                               YES                     3                                                        $     3,233.00


                                                                                                                                                 TOTAL                           32           $     18,145.00       $     171,290.52
                                                                                                            OfficialCase
                                                                                                                     Form 614-28537
                                                                                                                            - Statistical Summary
                                                                                                                                            Doc 1(12/13)
                                                                                                                                                      Filed         08/04/14 Entered 08/04/14 13:31:09                       Desc Main
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                                                                                                                                                United States Bankruptcy Court
                                                                                                                                                                  Northern District of Illinois

                                                                                                                       In re       Laura C. Voegtle                                                        Case No.
                                                                                                                                                                 Debtor
                                                                                                                                                                                                           Chapter      7

                                                                                                          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                               If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                                          §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                                          information here.

                                                                                                          This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                                          Summarize the following types of liabilities, as reported in the Schedules, and total them.



                                                                                                             Type of Liability                                                             Amount
                                                                                                             Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                                                    0.00
                                                                                                             Taxes and Certain Other Debts Owed to Governmental Units (from            $
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                                                                                                             Schedule E)
                                                                                                                                                                                               4,000.00
                                                                                                             Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
                                                                                                             Schedule E) (whether disputed or undisputed)                                           0.00
                                                                                                             Student Loan Obligations (from Schedule F)                                $
                                                                                                                                                                                             122,830.90
                                                                                                             Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                                             Obligations Not Reported on Schedule E                                                 0.00
                                                                                                             Obligations to Pension or Profit-Sharing, and Other Similar Obligations   $
                                                                                                             (from Schedule F)                                                                      0.00

                                                                                                                                                                              TOTAL    $     126,830.90


                                                                                                            State the Following:
                                                                                                             Average Income (from Schedule I, Line 12)                                 $            0.00
                                                                                                             Average Expenses (from Schedule J, Line 22)                               $
                                                                                                                                                                                               3,233.00
                                                                                                             Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                                             22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                                               4,384.00



                                                                                                            State the Following:
                                                                                                             1. Total from Schedule D, “UNSECURED PORTION, IF                                              $
                                                                                                             ANY” column                                                                                              0.00

                                                                                                             2. Total from Schedule E, “AMOUNT ENTITLED TO                             $
                                                                                                             PRIORITY” column.                                                                 4,000.00

                                                                                                             3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                             $
                                                                                                             PRIORITY, IF ANY” column                                                                                 0.00

                                                                                                             4. Total from Schedule F                                                                      $   167,290.52
                                                                                                             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                  $
                                                                                                                                                                                                               167,290.52
                                                                                                                             Case
                                                                                                                B6 (Official Form 6 -14-28537        Doc
                                                                                                                                     Declaration) (12/07)                               1       Filed 08/04/14 Entered 08/04/14 13:31:09                                                                 Desc Main
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                                                                                                                          Laura C. Voegtle
                                                                                                                In re                                                                                                                                        Case No.
                                                                                                                                                       Debtor                                                                                                                                   (If known)

                                                                                                                                                DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                                    34
                                                                                                                           I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______ sheets, and that they
                                                                                                                are true and correct to the best of my knowledge, information, and belief.



                                                                                                                 Date       August 4, 2014                                                                                            Signature:          /s/ Laura C. Voegtle
                                                                                                                                                                                                                                                                                         Debtor


                                                                                                                 Date                                                                                                                 Signature:                       Not Applicable
                                                                                                                                                                                                                                                                                (Joint Debtor, if any)

                                                                                                                                                                                                                                             [If joint case, both spouses must sign.]
                                                                                                             -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                         DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                           compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                           110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                           by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                           accepting any fee from the debtor, as required by that section.
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                                                                                                           Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                                           of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                            If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                            who signs this document.




                                                                                                            Address

                                                                                                            X
                                                                                                                                 Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                                          Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                                          If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                          A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                                          18 U.S.C. § 156.
                                                                                                          -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                               DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                                I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                                          or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                                          in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                                          shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                                          Date                                                                                                                 Signature:


                                                                                                                                                                                                                                                [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                           [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                           -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                  Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                                        Case
                                                                                                          B7 (Official Form      14-28537
                                                                                                                            7) (04/13)          Doc 1        Filed 08/04/14            Entered 08/04/14 13:31:09                     Desc Main
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                                                                                                                                                      UNITED STATESPage 42 of 58
                                                                                                                                                                   BANKRUPTCY    COURT
                                                                                                                                                                   Northern District of Illinois

                                                                                                           In Re Laura C. Voegtle                                                                                Case No.
                                                                                                                                                                                                                                  (if known)


                                                                                                                                                             STATEMENT OF FINANCIAL AFFAIRS

                                                                                                                            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                                  the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                                  information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                                  filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                                  provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                                  indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                                  or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                                  R. Bankr. P. 1007(m).

                                                                                                                            Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                                  must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional
                                                                                                                  space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number
                                                                                                                  (if known), and the number of the question.

                                                                                                                  DEFINITIONS

                                                                                                                             "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                                  individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
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                                                                                                                  the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                                  the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                                                  employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                                  in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                             "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                                  their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in
                                                                                                                  control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
                                                                                                                  the debtor. 11 U.S.C. § 101(2), (31).



                                                                                                                            1. Income from employment or operation of business

                                                                                                                            State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                            the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                                 None       beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                            spouses are separated and a joint petition is not filed.)

                                                                                                                                    AMOUNT                                                 SOURCE

                                                                                                                     2014           $26,307.       Employment

                                                                                                                     2013           $49,189.       Employment

                                                                                                                     2012           $42,296.       Employment
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                                                                                                                     2.   Income other than from employment or operation of business

                                                                                                          None             State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                                                     of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                                                     particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter
                                                                                                                     12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are
                                                                                                                     separated and a joint petition is not filed.)

                                                                                                                      AMOUNT                                                                SOURCE

                                                                                                              2012                $ 4,191.           Unemployment Compensation




                                                                                                                     3. Payments to creditors
                                                                                                          None

                                                                                                                     Complete a. or b., as appropriate, and c.
                                                                                                                     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                                     goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                                     this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                                                     Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
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                                                                                                                     or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                                     counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                                                     spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                          NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                                                                                         PAYMENTS                                PAID                  OWING


                                                                                                          Current monthly rental payments.



                                                                                                          None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                                     within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                                                     constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk
                                                                                                                     (*)any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                                                     alternativerepayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                                                     (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                                                     spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                          *Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after date of adjustment.

                                                                                                          NAME AND ADDRESS OF CREDITOR                                   DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                           AND RELATIONSHIP TO DEBTOR                                    PAYMENTS                                PAID                  OWING
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                                                                                                          None

                                                                                                                     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                                     for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                                     include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                           NAME AND ADDRESS OF CREDITOR                                 DATES OF                        AMOUNT PAID             AMOUNT STILL
                                                                                                            AND RELATIONSHIP TO DEBTOR                                  PAYMENTS                                                   OWING


                                                                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                                          None       a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                                     preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                     information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                           CAPTION OF SUIT                   NATURE OF PROCEEDING                            COURT OR                                STATUS OR
                                                                                                          AND CASE NUMBER                                                               AGENCY AND LOCATION                          DISPOSITION
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                                                                                                          None       b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                                     one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                                                     13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                                                     unless the spouses are separated and a joint petition is not filed.)


                                                                                                             NAME AND ADDRESS OF                                           DATE OF                                        DESCRIPTION AND
                                                                                                           PERSON FOR WHOSE BENEFIT                                        SEIZURE                                       VALUE OF PROPERTY
                                                                                                             PROPERTY WAS SEIZED


                                                                                                                     5.   Repossessions, foreclosures and returns

                                                                                                          None             List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                                                     lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                                     (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                                     both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                              NAME AND                                    DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                             ADDRESS OF                                    FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                                          CREDITOR OR SELLER                              TRANSFER OR RETURN
                                                                                                              Case 14-28537               Doc 1        Filed 08/04/14 Entered 08/04/14 13:31:09                                 Desc Main
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                                                                                                                     6. Assignments and Receiverships

                                                                                                          None       a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                                     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                                     assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                                     joint petition is not filed.)


                                                                                                                   NAME AND                                      DATE OF ASSIGNMENT                                  TERMS OF
                                                                                                                  ADDRESS OF                                                                                        ASSIGNMENT
                                                                                                                    ASSIGNEE                                                                                       OR SETTLEMENT


                                                                                                          None       b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                                     year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                                     must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                                     the spouses are separated and a joint petition is not filed.)


                                                                                                                   NAME AND                            NAME AND LOCATION                            DATE OF                DESCRIPTION AND
                                                                                                                  ADDRESS OF                           OF COURT CASE TITLE                           ORDER                VALUE OF PROPERTY
                                                                                                                  CUSTODIAN                                 & NUMBER
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                                                                                                                     7.   Gifts

                                                                                                          None            List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                                                     case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                                                     member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter
                                                                                                                     12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
                                                                                                                     unless the spouses are separated and a joint petition is not filed.)


                                                                                                                 NAME AND                               RELATIONSHIP                          DATE OF                  DESCRIPTION AND
                                                                                                                ADDRESS OF                            TO DEBTOR, IF ANY                         GIFT                    VALUE OF GIFT
                                                                                                          PERSON OR ORGANIZATION


                                                                                                                     8.   Losses

                                                                                                          None                List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                                     commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                                     chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                                     separated and a joint petition is not filed.)


                                                                                                              DESCRIPTION                              DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                               AND VALUE                                  WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                              OF PROPERTY                                     INSURANCE, GIVE PARTICULARS
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                                                                                                                     9.   Payments related to debt counseling or bankruptcy

                                                                                                          None            List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                                                     for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                                                     bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                                      NAME AND ADDRESS                         DATE OF PAYMENT,                              AMOUNT OF MONEY OR
                                                                                                                          OF PAYEE                             NAME OF PAYOR IF                                DESCRIPTION AND
                                                                                                                                                              OTHER THAN DEBTOR                               VALUE OF PROPERTY

                                                                                                          James T Magee                                                                                 $920.00
                                                                                                          Magee, Negele & Associates, P.C.              Payor: Debtor
                                                                                                          444 North Cedar Lake Road
                                                                                                          Round Lake, Illinois 60073


                                                                                                                     10. Other transfers

                                                                                                          None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                                                     of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                                     of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                                                     whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                                                              NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                                                  RELATIONSHIP TO DEBTOR                                                                           TRANSFERRED AND
                                                                                                                                                                                                                    VALUE RECEIVED


                                                                                                                     b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                                     to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                          None

                                                                                                                 NAME OF TRUST OR OTHER DEVICE                                 DATE(S) OF                     AMOUNT OF MONEY OR
                                                                                                                                                                              TRANSFER(S)                       DESCRIPTION AND
                                                                                                                                                                                                             VALUE OF PROPERTY OR
                                                                                                                                                                                                          DEBTOR'S INTEREST IN PROPERTY


                                                                                                                     11. Closed financial accounts

                                                                                                          None             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
                                                                                                                     were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                                                     Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                                     accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                                     institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                                     instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                                   NAME AND                             TYPE OF ACCOUNT, LAST FOUR                                       AMOUNT AND
                                                                                                                  ADDRESS OF                            DIGITS OF ACCOUNT NUMBER,                                        DATE OF SALE
                                                                                                                  INSTITUTION                          AND AMOUNT OF FINAL BALANCE                                        OR CLOSING
                                                                                                              Case 14-28537               Doc 1        Filed 08/04/14 Entered 08/04/14 13:31:09                                Desc Main
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                                                                                                                     12. Safe deposit boxes

                                                                                                          None                List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                                     valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                                                     chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
                                                                                                                     is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                      NAME AND                      NAMES AND ADDRESSES OF                     DESCRIPTION OF               DATE OF
                                                                                                                   ADDRESS OF BANK                 THOSE WITH ACCESS TO BOX                      CONTENTS                 TRANSFER OR
                                                                                                                 OR OTHER DEPOSITORY                    OR DEPOSITORY                                                   SURRENDER, IF ANY


                                                                                                                     13. Setoffs

                                                                                                          None              List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                                     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                     information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                                 NAME AND ADDRESS OF CREDITOR                                    DATE                                  AMOUNT
                                                                                                                                                                                  OF                                      OF
                                                                                                                                                                                SETOFF                                  SETOFF
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                                                                                                                     14. Property held for another person

                                                                                                          None            List all property owned by another person that the debtor holds or controls.


                                                                                                                     NAME AND                                DESCRIPTION AND                              LOCATION OF PROPERTY
                                                                                                                  ADDRESS OF OWNER                          VALUE OF PROPERTY


                                                                                                                     15. Prior address of debtor
                                                                                                          None
                                                                                                                            If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                                                     premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                                                     joint petition is filed, report also any separate address of either spouse.


                                                                                                                   ADDRESS                                           NAME USED                                    DATES OF OCCUPANCY


                                                                                                          640 West Central Road                      Same Name                                            2010 to 2013
                                                                                                          Arlington Heights, Illinois
                                                                                                              Case 14-28537               Doc 1        Filed 08/04/14 Entered 08/04/14 13:31:09                              Desc Main
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                                                                                                                     16. Spouses and Former Spouses
                                                                                                          None
                                                                                                                         If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                                     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                                     eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                                     any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                                   NAME


                                                                                                                     17. Environmental Sites

                                                                                                                     For the purpose of this question, the following definitions apply:

                                                                                                                     "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                                     releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                                     other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                                     wastes, or material.

                                                                                                                                "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                                presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                                "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
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                                                                                                                                hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                                          None
                                                                                                                     a.    List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                                                     unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                                                     governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                                  SITE NAME                           NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                                 AND ADDRESS                        OF GOVERNMENTAL UNIT                       NOTICE                       LAW


                                                                                                                     b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                                                     of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                                          None

                                                                                                                  SITE NAME                           NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                                                 AND ADDRESS                        OF GOVERNMENTAL UNIT                       NOTICE                       LAW


                                                                                                                     c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                                     with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                                                                                                          None       was a party to the proceeding, and the docket number.


                                                                                                                    NAME AND ADDRESS                                DOCKET NUMBER                              STATUS OR DISPOSITION
                                                                                                                  OF GOVERNMENTAL UNIT
                                                                                                                     Case 14-28537                  Doc 1          Filed 08/04/14 Entered 08/04/14 13:31:09                                        Desc Main
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                                                                                                                            18. Nature, location and name of business

                                                                                                                 None       a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                                            businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                                                            managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                                            other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                                            which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
                                                                                                                            preceding the commencement of this case.

                                                                                                                            If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                            beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                            voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                                            If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                            beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                            voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                                   NAME               LAST FOUR DIGITS OF                        ADDRESS                    NATURE OF BUSINESS BEGINNING AND
                                                                                                                                      SOCIAL-SECURITY OR                                                                       ENDING DATES
                                                                                                                                       OTHER INDIVIDUAL
                                                                                                                                        TAXPAYER-I.D. NO.
                                                                                                                                      (ITIN)/ COMPLETE EIN
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                                                                                                                            b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                                            U.S.C. § 101.
                                                                                                                 None

                                                                                                                            NAME                                                                                         ADDRESS




                                                                                                                                          [Questions 19 - 25 are not applicable to this case]
                                                                                                                                                                   *    *    *    *    *    *


                                                                                                                 [If completed by an individual or individual and spouse]

                                                                                                                 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                                                 thereto and that they are true and correct.
                                                                                                                 August 4, 2014                                                                     /s/ Laura C. Voegtle
                                                                                                          Date                                                              Signature
                                                                                                                                                                            of Debtor               LAURA C. VOEGTLE
                                                                                                                            Case 14-28537                      Doc 1            Filed 08/04/14 Entered 08/04/14 13:31:09                                                  Desc Main
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                                                                                                                                                                                  0 continuation sheets attached
                                                                                                                                                                                _____


                                                                                                                              Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                                  DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                          compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
                                                                                                          rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                                          have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                                          in that section.




                                                                                                          Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
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                                                                                                          If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                                          partner who signs this document.




                                                                                                          Address

                                                                                                          X
                                                                                                          Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                                          Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                          not an individual:

                                                                                                          If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                          A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                                          or imprisonment or both. 18 U.S.C. §156.
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                                                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                                                                                                           Northern District of Illinois
                                                                                                                  Laura C. Voegtle
                                                                                                          In re                                                           ,         Case No.
                                                                                                                                         Debtor                                                       Chapter 7



                                                                                                                                   CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                           PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is
                                                                                                           secured by property of the estate. Attach additional pages if necessary.)


                                                                                                             Property No. 1        NO SECURED PROPERTY
                                                                                                            Creditor's Name:                                                   Describe Property Securing Debt:




                                                                                                             Property will be (check one):
                                                                                                                       Surrendered                             Retained

                                                                                                             If retaining the property, I intend to (check at least one):
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                                                                                                                        Redeem the property
                                                                                                                        Reaffirm the debt
                                                                                                                        Other. Explain _______________________________________________(for example, avoid lien
                                                                                                             using 11 U.S.C. §522(f)).

                                                                                                             Property is (check one):
                                                                                                                        Claimed as exempt                                     Not claimed as exempt



                                                                                                             Property No. 2 (if necessary)
                                                                                                            Creditor's Name:                                                   Describe Property Securing Debt:




                                                                                                             Property will be (check one):
                                                                                                                       Surrendered                             Retained

                                                                                                             If retaining the property, I intend to (check at least one):
                                                                                                                        Redeem the property
                                                                                                                        Reaffirm the debt
                                                                                                                        Other. Explain _______________________________________________(for example, avoid lien
                                                                                                             using 11 U.S.C. §522(f)).

                                                                                                             Property is (check one):
                                                                                                                        Claimed as exempt                                     Not claimed as exempt
                                                                                                                         Case 14-28537              Doc 1     Filed 08/04/14 Entered 08/04/14 13:31:09               Desc Main
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                                                                                                              PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for
                                                                                                              Each unexpired lease. Attach additional pages if necessary.)



                                                                                                                Property No. 1           NO Leased Property
                                                                                                               Lessor's Name:                                   Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                                     to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                        YES              NO


                                                                                                                Property No. 2 (if necessary)
                                                                                                               Lessor's Name:                                   Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                                     to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                        YES              NO


                                                                                                                Property No. 3 (if necessary)
                                                                                                               Lessor's Name:                                   Describe Leased Property:            Lease will be Assumed pursuant
                                                                                                                                                                                                     to 11 U.S.C. §365(p)(2)):
                                                                                                                                                                                                        YES              NO
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                                                                                                                0
                                                                                                               ______ continuation sheets attached (if any)

                                                                                                              I declare under penalty of perjury that the above indicates my intention as to any property of my
                                                                                                              Estate securing debt and/or personal property subject to an unexpired lease.




                                                                                                                    August 4, 2014
                                                                                                              Date:_____________________________                            /s/ Laura C. Voegtle
                                                                                                                                                                         Signature of Debtor




                                                                                                                                                                         Signature of Joint Debtor
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                 UNITED STATES BANKRUPTCY COURT
            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


In Re:                                          Case Number:




  Laura C. Voegtle                              Chapter 7




                      VERIFICATION OF MAILING MATRIX


The above-named Debtor(s) hereby verifies that the attached list of creditors is
true and correct to the best of my (our) knowledge.



Dated:



                                                       Debtor




                                                      Joint Debtor



James T. Magee [#01729446]
MAGEE, NEGELE & ASSOCIATES, P.C.
444 North Cedar Lake Road
Round Lake, Illinois 60073
(847) 546-0055
                                           Advanced Radiology Consultants       Advanced Surg Care of No. IL
                     Case 14-28537   Doc   1 Filed 08/04/14 Entered 08/04/14 802
                                           520 East 22nd  Street                    Fox Glen Desc Main
                                                                                13:31:09
                                           Lombard,  IL 60148
                                                 Document         Page 54 of 58 Barrington, IL 60010-1860



Advocate Good Shepherd Hospital            Advocate Lutheran General Hosp.          Anna Upadhyaya
450 West Highway 22                        1775 Dempster Street                     23422 Arora Hills Drive
Barrington, IL 60010                       Park Ridge, IL 60068                     Clarksville, MD 20871



Arlington Ridge Pathology SC               Arlington Ridge Pathology SC             AT&T
/co Medical Recovery Spec.                 520 East 22nd Street                     c/o Receivables Performance
2250 East Devon Ave., #352                 Lombard, IL 60148                        20816 44th Ave West
Des Plaines, IL 60018-4521                                                          Lynnwood, WA 98036


AT&T Midwest                               AT&T-Illinois                            Best Practices Inpatient Care
c/o I.C. System, Inc.                      c/o Bay Area Credit Servic               P. O. Box 268
P. O. Box 64437                            1000 Abernathy Rd NE                     Lake Zurich, IL 60047-0268
St. Paul, MN 55164-0437                    Atlanta, GA 30328


Best Practices of Northwest                Blockbuster                              Cepamerica Illinois
c/o Miramedrg                              c/o NAFS                                 c/o Stanislaus Credit
991 Oak Creek Drive                        P. O. Box 9027                           P. O. Box 480
Lombard, IL 60148                          Williamsville, NY 14231-9027             Modesto, CA 95353


Comcast                                    Comcast                                  ComEd
c/o Southwest Credit System                c/o Southwest Credit System              c/o L J Ross and Associates
4120 International Pkwy, #1100             5910 W Plano Pkwy                        P. O. Box 6099
Carrollton, TX 75007                       Plano, TX 75093                          Jackson, MI 49204


ComEd                                      Daniel T. Kim, DDS                       Direct Media Power, Inc.
c/o L J Ross Associates                    519 Ela Road                             c/o Goldman & Ehrlich
4 Universal Way                            Lake Zurich, IL 60047                    20 South Clark Street, #500
Jackson, MI 49202                                                                   Chicago, IL 60603


Eric J. Bessonny MD Sc                     Fahey Medical Center                     First Data Merchant Services
c/o Medical Fin. Mgmt.                     581 Golf Road                            c/o Transworld Systems, Inc.
8135 Milwaukee Avenue                      Des Plaines, IL 60016-2638               507 Prudential Road
Niles, IL 60714-2828                                                                Horsham, PA 19044


First Premier Bank                         Gail Bryant MD SC                        Glenview Fire Department
601 S Minnesota Avenue                     125 S. Wilke Road, #100                  P. O. Box 1157
Sioux Falls, SD 57104                      Arlington Heights, IL 60005-1521         Glenview, IL 60025-8157



Godiva Chocolatier                         Good Shepherd Hospital                   IL Bone and Joint Institute
c/o TRS Recovery Services                  c/o Illinois Collection Service          5057 Paysphere Circle
5251 Westheimer                            P. O. Box 1010                           Chicago, IL 60674
Houston, TX 77056                          Tinley Park, IL 60477-9110


IL State Toll Hwy Authority                IL Tollway Hwy Authority                 Internal Revenue Service
c/o NCO Financial/980                      c/o NCO Financial Systems                P. O. Box 7346
600 Holiday Plaza                          600 Holiday Plaza                        Philadelphia, PA 19101-7346
Matteson, IL 60443                         Matteson, IL 60443
Janeen Samartino LCPC                         Massage Envy Lake Zurich               MHS Physicians Services
1655 N. Arlington Hts. Rd., #303E
                     Case    14-28537   Doc   1 Filed 08/04/14 Entered 08/04/14 P.
                                              c/o Transworld Systems, Inc.             O. Box 5081 Desc Main
                                                                                     13:31:09
Arlington Heights, IL 60004-3978              1375 E.Document
                                                      Woodfield Rd., #110
                                                                       Page 55 of 58 Janesville, WI 53547-5081
                                              Schaumburg, IL 60173


Midwest Diagnostic Pathology                  Morris Mauer MD SC                      NCH Medical Group
P. O. Box 578                                 2010 North Harlem                       25228 Network Place
Park Ridge, IL 60068-0578                     Elmwood Park, IL 60707-3119             CHicago, IL 60673-1252



North Shore Oral Maxillofacial                Northwest Community Hospital            Northwest Community Hospital
c/o Keynote Consulting                        25709 Network Place                     c/o Harris & Harris Ltd
220 W. Campus Drive, #102                     CHicago, IL 60673-1257                  111 W Jackson Blvd S-400
Arlington Heights, IL 60004                                                           Chicago, IL 60604


Northwest Community Hospital                  Northwest Community Hospital            Northwest Community Hospital
c/o Harris & Harris Ltd                       c/o Harris & Harris Ltd                 c/o MiraMed Revenue Group
111 W Jackson Blvd S-400                      111 W Jackson Blvd S-400                991 Oak Creek Drive
Chicago, IL 60604                             Chicago, IL 60604                       Lombard, IL 60148


Northwest Eye Center                          Northwest Neurology, Ltd.               Northwest Radiology Assoc.
c/o NCO Financial Systems                     2260 W. Higgins Road, #201              c/o Medical Recovery Spec.
507 Prudential Road                           Hoffman Estate, IL 60169-2433           2250 E. Devon Avenue, #352
Horsham, PA 19044                                                                     Des Plaines, IL 60018-4521


Northwest Radiology Associates                Nowaz MD                                Payless Shoe Source
520 East 22nd Street                          c/o Choice Recovery                     c/o TRS Recovery Services
Lombard, IL 60148-6110                        1550 Old Henderson Rd                   5251 Westheimer
                                              Columbus, OH 43220                      Houston, TX 77056


Pediatric Faculty Foundation                  Peter E. Johnson MD                     Premier Bankcard, LLC
P. O. Box 4051                                8901 West Golf Road, #204               c/o Rushmore Service Ctr
Carol Sream, IL 60197-4051                    Des Plaines, IL 60016-4028              P. O. Box 5508
                                                                                      Sioux Falls, SD 57117-5508


Professional Cardiac Services                 Quest Diabnostics                       Quest Diagnostics
520 East 22nd Street                          1355 Mittel Boulevard                   c/o Credit Collection
Lombard, IL 60148-6110                        Wooddale, IL 60191-1024                 Two Wells Avenue
                                                                                      Newton, MA 02459


Regency Medical Center, P.C.                  Sallie Mae                              Sallie Mae Inc.
200 Fox Glen Drive                            P. O. Box 9655                          c/o NES of Ohio
Barrington, IL 60010-1809                     Wilkes Barre, PA 18773                  29125 Solon Road
                                                                                      Solon, OH 44139-3442


Shah Nawaz, MD                                Suburban Ear Nose & Throat              Suburban Surgical Assistants
c/o FFCC-Columbus, Inc.                       880 West Central Road                   P. O. Box 369
1550 Old Henderson Rd., #100                  Suite 7200                              New Lenox, IL 60451
Columbus, OH 43220-3626                       Arlington Heights, IL 60005


SuperValu 3415 Jewel/Osco                     Supervalu 3515 Jewel/Osco               T-Mobile
c/o Commercial Check Control                  c/o Certegy Payment Recovery            c/o Diversified
7250 Beverly Blvd., #100                      3500 - 5th Street                       10550 Deerwood Pk Blvd, #708
Los Angeles, CA 90036-2560                    Northport, AL 35476                     Jacksonville, FL 32256
Taste of Home                                 Tri-County Emerg. Phys.               Tricounty Emrg. Physicians
P. O. Box 5294     Case      14-28537   Doc   1 Filed 08/04/14 Entered 08/04/14 c/o
                                              P. O. Box 369                             Med Busi Bur
                                                                                    13:31:09       Desc Main
Harlan, IA 51593-0794                         Barrington, IL
                                                     Document60011-0098
                                                                      Page 56 of 58 1460 Renaissance Drive
                                                                                    Park Ridge, IL 60068


Tricounty Emrg. Physicians                    US Bank National Association            US Cellular
c/o Med Business Bureau                       c/o Bonded Collection Corp.             c/o CCA
P. O. Box 1219                                29 East Madison Street, #1650           700 Longwater Drive
Park Ridge, IL 60068                          CHicago, IL 60602-4427                  Norwell, MA 02061


US Dept of Ed/FISL/AT                         US Dept of Ed/GSL/ATL                   US Dept of Ed/GSL/ATL
Attn: Bankruptcy                              P. O. Box 4222                          P. O. Box 4222
61 Forsythe Street, #19T89                    Iowa City, IA 52244                     Iowa City, IA 52244
Atlanta, GA 30303


US Dept of Ed/MOHELA                          Victoria Select Insurance               Victoria Select Insurance
633 Spirit Drive                              c/o Credit Collection                   c/o Credit Collections Svc
Chesterfield, MO 63005-1243                   P. O. Box 9134                          P. O. Box 773
                                              Needham, MA 02494                       Needham, MA 02494


Wauconda Fire Protection Dist.                Wheeling Animal Hospital
P. O. Box 457                                 c/o The Bureaus Inc.
Wheeling, IL 60090                            1717 Central Street
                                              Evanston, IL 60201
                                                                                                                         Case 14-28537                Doc 1         Filed 08/04/14 Entered 08/04/14 13:31:09                                   Desc Main
                                                                                                                                                                     Document     Page 57 of 58
                                                                                                          B203
                                                                                                          12/94
                                                                                                                                                    United States Bankruptcy Court
                                                                                                                                                                        Northern District of Illinois
                                                                                                                  In re Laura C. Voegtle                                                                    Case No. ____________________
                                                                                                                                                                                                            Chapter           7
                                                                                                                                                                                                                         ____________________
                                                                                                                  Debtor(s)
                                                                                                                                   DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                                          1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                                  and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                                  rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                                               1,600.00
                                                                                                                  For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                                                                                                                                    552.00
                                                                                                                  Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                                              1,048.00
                                                                                                                  Balance Due ......................................……………………………………….................... $ ______________

                                                                                                          2.      The source of compensation paid to me was:

                                                                                                                                   Debtor                   Other (specify)
                                                                                                          3.      The source of compensation to be paid to me is:
                                                                                                                                   Debtor                   Other (specify)

                                                                                                          4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
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                                                                                                          associates of my law firm.

                                                                                                                     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                                                          of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                                                          5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                                                   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                                                   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
                                                                                                                   c. [Other provisions as needed]
                                                                                                           Upon confirmation of written Post-Petition Fee Agreement for payment of balance due, representation of the Debtor at the meeting
                                                                                                           of creditors and confirmation hearing, and any adjourned hearings thereof.




                                                                                                           6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                                                                                                           Representation of the Debtor in adversary proceedings and other contested bankruptcy matters.




                                                                                                                                                                                     CERTIFICATION

                                                                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                                       debtor(s) in the bankruptcy proceeding.


                                                                                                                          August 4, 2014
                                                                                                                       ____________________________________                                   /s/ James T Magee
                                                                                                                                                                                            __________________________________________________
                                                                                                                                      Date                                                                   Signature of Attorney

                                                                                                                                                                                              Magee, Negele & Associates, P.C.
                                                                                                                                                                                            __________________________________________________
                                                                                                                                                                                                             Name of law firm
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                                                RETAINER AGREEMENT

                                                  BANKRUPTCY
             [Installment Payments Intended for Post-Filing Services To Be Confirmed By Client Request]

     Agreement made this 28th day of July, 2014, at Round Lake, Illinois between MAGEE, NEGELE &
ASSOCIATES, hereinafter referred to as Attorney, and the undersigned, hereinafter referred to as Client.

        1.       Client hereby retains Attorney for filing Chapter 7 Bankruptcy.

         2.      Attorney hereby accepts this employment and, in conjunction with the Client’s assistance, the Attorney will
prepare the necessary Petition in Bankruptcy, Schedules and Statement of Financial Affairs. Unless and except by separate
and subsequent agreement entered into at Client's request after the filing of Client's Bankruptcy Petition, the Attorney will
not respond to Creditor inquiries, assist in negotiating Reaffirmation Agreements, attend the First Meeting of Creditors, and
assist in providing any documents and documentation requested by the Bankruptcy Trustee. If so requested after filing,
Attorney will provide all such services.

        3.       The minimum intended fee to be charged by Attorney for all services before and after the filing of the
Bankruptcy Petition is $1,600.00                    plus costs and Court filing fees. Client acknowledges receipt of a listing of
possible costs and court fees related to this case.

        4.      Client has deposited with Attorney an amount to be credited toward pre-filing costs. Any balance not
expended for costs will be applied toward attorney fees on filing and no further fee will be charged after filing unless
requested and confirmed by subsequent agreement.

         5.      If requested after filing, all post-filing services referred to in Paragraph 2, above, will be provided for a fee
not to exceed the amount stated in Paragraph 3, above, and may be paid in monthly installments of $200.00 on the 30th day
of each month after the filing of Client's Petition in Bankruptcy.

        6.       The above charges and the proposed subsequent agreement do not include extraordinary matters in the
nature of hearings on objections to discharge, defending suits on claims, redemption proceedings or motions avoiding liens
and related court costs. The Attorney’s charges for work not included in the above will be paid at an hourly rate of $300.00
for the actual time involved. Client’s failure to attend the First Meeting of Creditors, without prior notice to the
Attorney will result in an additional charge of $175.00 for each continued Meeting of Creditors. Amendments to the
List of Creditors will be billed at $10.00 per Creditor plus Court costs for each amended filing.

                                                               ACCEPTED:

 /s/Laura C. Voegtle                                            MAGEE, NEGELE & ASSOCIATES, P.C.

 Client – Laura C. Voegtle

                                                                By:        /s/James T Magee

 Client –                                                                   James T. Magee
